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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                                                        §
                                                                  §   Chapter 11
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                  §   Case No. 19-34054-sgj11
                                                                  §
                                     Debtor.
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                  §
                                     Plaintiff,                   §   Adversary Proceeding No.
                                                                  §
    vs.                                                           §   21-03006
                                                                  §
    HIGHLAND CAPITAL MANAGEMENT                                   §
    SERVICES, INC, JAMES DONDERO, NANCY                           §
    DONDERO, AND THE DUGABOY                                      §
    INVESTMENT TRUST

                                     Defendants.


1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                                                                        Exhibit
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              AMENDED COMPLAINT FOR (I) BREACH OF CONTRACT,
      (II) TURNOVER OF PROPERTY, (III) FRAUDULENT TRANSFER, AND (IV)
                        BREACH OF FIDUCIARY DUTY

                 Plaintiff, Highland Capital Management, L.P., the above-captioned debtor and

debtor-in-possession (the “Debtor”) in the above-captioned chapter 11 case (the “Bankruptcy

Case”), and the plaintiff (the “Plaintiff”) in the above-captioned adversary proceeding (the

“Adversary Proceeding”), by its undersigned counsel, as and for its amended complaint (the

“Complaint”) against defendants Highland Capital Management Services, Inc. (“HCMS”), James

Dondero (“Mr. Dondero”), Nancy Dondero (“Ms. Dondero”), and The Dugaboy Investment Trust

(“Dugaboy” and together with HCMS, Mr. Dondero, and Ms. Dondero, the “Defendants”) alleges

upon knowledge of its own actions and upon information and belief as to other matters as follows:

                                    PRELIMINARY STATEMENT

                 1.         The Debtor brings this action against Defendants in connection with

HCMS’s defaults under (i) four demand notes, in the aggregate principal amount of $900,000, and

payable upon the Debtor’s demand, and (ii) one term note, in the aggregate principal amount of

$20,247,628.02, and payable in the event of default, all executed by HCMS in favor of the Debtor.

HCMS has failed to pay amounts due and owing under the notes and the accrued but unpaid interest

thereon.

                 2.         In paragraph 56 of HCMS’s First Amended Answer to Plaintiff’s Complaint

[Docket No. 34], HCMS contends that the Debtor orally agreed to relieve it of the obligations

under the Notes (as defined below) upon fulfillment of “conditions subsequent” (the “Alleged

Agreement”). HCMS further contends that the Alleged Agreement was entered into between

James Dondero, acting on behalf of HCMS, and his sister, Nancy Dondero, as representative of a

majority of the Class A shareholders of the Plaintiff, including Dugaboy (the “Representative”),



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acting on behalf of the Debtor. At the time Mr. Dondero entered into the Alleged Agreement on

behalf of HCMS, he controlled both HCMS and the Debtor and was the lifetime beneficiary of

Dugaboy.

                 3.         Based on its books and records, discovery to date, and other facts, the

Debtor believes that the Alleged Agreement is a fiction created after the commencement of this

Adversary Proceeding for the purpose of avoiding or at least delaying paying the obligations due

under the Notes.

                 4.         Nevertheless, the Debtor amends its Complaint to add certain claims and

name additional parties who would be liable to the Debtor if the Alleged Agreement were

determined to exist and be enforceable. Specifically, in addition to pursuing claims against HCMS

for breach of its obligations under the Notes and for turnover, the Debtor adds alternative claims

(a) against HCMS for actual fraudulent transfer and aiding and abetting Dugaboy in its breach of

fiduciary duty, (b) against Dugaboy for declaratory relief and for breach of fiduciary duty, and (c)

against Nancy Dondero for aiding and abetting Dugaboy in the breach of his fiduciary duties.

                 5.         As remedies, the Debtor seeks (a) damages from HCMS in an amount equal

to (i) the aggregate outstanding principal due under the Notes (as defined below), plus (ii) all

accrued and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the

Debtor’s costs of collection (including all court costs and reasonable attorneys’ fees and expenses,

as provided for in the notes), for HCMS’s breach of its obligations under the Notes, (b) turnover

by HCMS to the Debtor of the foregoing amounts; (c) avoidance of the Alleged Agreement and

the transfers thereunder and recovery of the funds transferred from the Plaintiff to, or for the benefit

of, HCMS pursuant to the Notes; (d) declaratory relief, and (e) damages arising from the

Defendants’ breach of fiduciary duties or aiding and abetting thereof.



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                                     JURISDICTION AND VENUE

                 6.         This adversary proceeding arises in and relates to the Debtor’s case pending

before the United States Bankruptcy Court for the Northern District of Texas, Dallas Division (the

“Court”) under chapter 11 of the Bankruptcy Code.

                 7.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334.

                 8.         This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b),

and, pursuant to Rule 7008 of the Bankruptcy Rules, the Debtor consents to the entry of a final

order by the Court in the event that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                 9.         Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                              THE PARTIES

                 10.        The Debtor is a limited liability partnership formed under the laws of

Delaware with a business address at 300 Crescent Court, Suite 700, Dallas, Texas 75201.

                 11.        Upon information and belief, HCMS is a company with offices located in

Dallas, Texas, and is incorporated in the state of Delaware.

                 12.        Upon information and belief, Mr. Dondero is an individual residing in

Dallas, Texas. He is the co-founder of the Debtor and was the Debtor’s President and Chief

Executive Officer until his resignation on January 9, 2020. At all relevant times, Mr. Dondero

controlled HCRE; Mr. Dondero also controlled the Debtor until January 9, 2020.

                 13.        Upon information and belief, Dugaboy is (a) a limited partner of the Debtor,

and (b) one of Mr. Dondero’s family investment trusts for which is he a lifetime beneficiary.



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                    14.     Upon information and belief, Nancy Dondero is an individual residing in

the state of Florida and who is Mr. Dondero’s sister, and a trustee of Dugaboy.

                                            CASE BACKGROUND

                    15.     On October 16, 2019, the Debtor filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware (the “Delaware Court”), Case No. 19-12239 (CSS) (the “Highland Bankruptcy Case”).

                    16.     On October 29, 2019, the U.S. Trustee in the Delaware Court appointed an

Official Committee of Unsecured Creditors (the “Committee”) with the following members: (a)

Redeemer Committee of Highland Crusader Fund (“Redeemer”), (b) Meta-e Discovery, (c) UBS

Securities LLC and UBS AG London Branch, and (d) Acis Capital Management, L.P. and Acis

Capital Management GP LLC (collectively, “Acis”).

                    17.     On June 25, 2021, the U.S. Trustee in this Court filed that certain Notice of

Amended Unsecured Creditors’ Committee [Docket No. 2485] notifying the Court that Acis and

Redeemer had resigned from the Committee.

                    18.     On December 4, 2019, the Delaware Court entered an order transferring

venue of the Highland Bankruptcy Case to this Court [Docket No. 186]. 2

                    19.     The Debtor has continued in the possession of its property and has

continued to operate and manage its business as a debtor-in-possession pursuant to sections

1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

chapter 11 case.




2
    All docket numbers refer to the main docket for the Highland Bankruptcy Case maintained by this Court.

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                                       STATEMENT OF FACTS

A.      The HCMS Demand Notes

                 20.        HCMS is the maker under a series of demand notes in favor of the Debtor.

                 21.        Specifically, on March 28, 2018, HCMS executed a demand note in favor

of the Debtor, as payee, in the original principal amount of $150,000 (“HCMS’s First Demand

Note”). A true and correct copy of HCMS’s First Demand Note is attached hereto as Exhibit 1.

                 22.        On June 25, 2018, HCMS executed a demand note in favor of the Debtor,

as payee, in the original principal amount of $200,000 (“HCMS’s Second Demand Note”). A true

and correct copy of HCMS’s Second Demand Note is attached hereto as Exhibit 2.

                 23.        On May 29, 2019, HCMS executed a demand note in favor of the Debtor,

as payee, in the original principal amount of $400,000 (“HCMS’s Third Demand Note”). A true

and correct copy of HCMS’s Third Demand Note is attached hereto as Exhibit 3.

                 24.        On June 26, 2019, HCMS executed a demand note in favor of the Debtor,

as payee, in the original principal amount of $150,000 (“HCMS’s Fourth Demand Note,” and

collectively, with HCMS’s First Demand Note, HCMS’s Second Demand Note, and HCMS’s

Third Demand Note, the “Demand Notes”). A true and correct copy of HCMS’s Fourth Demand

Note is attached hereto as Exhibit 4.

                 25.        Section 2 of the Demand Notes provide: “Payment of Principal and

Interest. The accrued interest and principal of this Note shall be due and payable on demand of

the Payee.”

                 26.        Section 4 of the Demand Notes provide:

                 Acceleration Upon Default. Failure to pay this Note or any installment
                 hereunder as it becomes due shall, at the election of the holder hereof,
                 without notice, demand, presentment, notice of intent to accelerate, notice
                 of acceleration, or any other notice of any kind which are hereby waived,
                 mature the principal of this Note and all interest then accrued, if any, and

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                 the same shall at once become due and payable and subject to those
                 remedies of the holder hereof. No failure or delay on the part of the Payee
                 in exercising any right, power, or privilege hereunder shall operate as a
                 waiver hereof.

                 27.        Section 6 of the Demand Notes provide:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other court
                 after maturity, the Maker shall pay, in addition to all other amounts owing
                 hereunder, all actual expenses of collection, all court costs and reasonable
                 attorneys’ fees and expenses incurred by the holder hereof.

B.      HCMS’s Defaults Under Each Demand Note

                 28.        By letter dated December 3, 2020, the Debtor made demand on HCMS for

payment under the Demand Notes by December 11, 2020 (the “Demand Letter”). A true and

correct copy of the Demand Letter is attached hereto as Exhibit 5. The Demand Letter provided:

                 By this letter, Payee is demanding payment of the accrued interest and principal
                 due and payable on the Notes in the aggregate amount of $947,519.43, which
                 represents all accrued interest and principal through and including December 11,
                 2020.

                 Payment is due on December 11, 2020, and failure to make payment in full
                 on such date will constitute an event of default under the Notes.

Demand Letter (emphasis in the original).

                 29.        Despite the Debtor’s demand, HCMS did not pay all or any portion of the

amounts demanded by the Debtor on December 11, 2020.

                 30.        As of December 11, 2020, there was an outstanding principal amount of

$158,776.59 on HCMS’s First Demand Note and accrued but unpaid interest in the amount of

$3,257.32, resulting in a total outstanding amount as of that date of $162,033.91.

                 31.        As of December 11, 2020, there was an outstanding principal balance of

$212,403.37 on HCMS’s Second Demand Note and accrued but unpaid interest in the amount of

$2,999.54, resulting in a total outstanding amount as of that date of $215,402.81.

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                 32.        As of December 11, 2020, there was an outstanding principal balance of

$409,586.19 on HCMS’s Third Demand Note and accrued but unpaid interest in the amount of

$5,256.62, resulting in a total outstanding amount as of that date of $414,842.81.

                 33.        As of December 11, 2020, there was an outstanding principal balance of

$153,564.74 on HCMS’s Fourth Demand Note and accrued but unpaid interest in the amount of

$1,675.16, resulting in a total outstanding amount as of that date of $155,239.90.

                 34.        Thus, as of December 11, 2020, the total outstanding principal and accrued

but unpaid interest due under the Demand Notes was $947,519.43. Pursuant to Section 4 of each

Demand Note, each Note is in default, and is currently due and payable.

C.      The HCMS Term Note

                 35.        HCMS is the maker under a term note in favor of the Debtor.

                 36.        Specifically, on May 31, 2017, HCMS executed a term note in favor of the

Debtor, as payee, in the original principal amount of $20,247,628.02 (the “Term Note,” and

together with the Demand Notes, the “Notes”). A true and correct copy of the Term Note is

attached hereto as Exhibit 6.

                 37.        Section 2 of the Term Note provides: “Payment of Principal and

Interest. Principal and interest under this Note shall be due and payable as follows:

                 2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay
                 the outstanding principal amount of the Note (and all unpaid accrued interest
                 through the date of each such payment) in thirty (30) equal annual payments (the
                 “Annual Installment”) until the Note is paid in full. Borrower shall pay the Annual
                 Installment on the 31st day of December of each calendar year during the term of
                 this Note, commencing on the first such date to occur after the date of execution of
                 this note.

                 2.2    Final Payment Date. The final payment in the aggregate amount of the
                 then outstanding and unpaid Note, together with all accrued and unpaid interest
                 thereon, shall become immediately due and payable in full on December 31, 2047
                 (the “Maturity Date”).


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                 38.        Section 3 of the Note provides:

                 Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in
                 whole or in part the unpaid principal or accrued interest of this Note. Any
                 payments on this Note shall be applied first to unpaid accrued interest hereon, and
                 then to unpaid principal hereof.

                 39.        Section 4 of the Term Note provides:

                 Acceleration Upon Default. Failure to pay this Note or any installment
                 hereunder as it becomes due shall, at the election of the holder hereof,
                 without notice, demand, presentment, notice of intent to accelerate, notice
                 of acceleration, or any other notice of any kind which are hereby waived,
                 mature the principal of this Note and all interest then accrued, if any, and
                 the same shall at once become due and payable and subject to those
                 remedies of the holder hereof. No failure or delay on the part of the Payee
                 in exercising any right, power, or privilege hereunder shall operate as a
                 waiver hereof.

                 40.        Section 6 of the Term Note provides:

                 Attorneys’ Fees. If this Note is not paid at maturity (whether by
                 acceleration or otherwise) and is placed in the hands of an attorney for
                 collection, or if it is collected through a bankruptcy court or any other court
                 after maturity, the Maker shall pay, in addition to all other amounts owing
                 hereunder, all actual expenses of collection, all court costs and reasonable
                 attorneys’ fees and expenses incurred by the holder hereof.

D.      HCMS’s Default Under the Term Note

                 41.        HCMS failed to make the payment due under the Term Note on December

31, 2020.

                 42.        By letter dated January 7, 2021, the Debtor made demand on HCMS for

immediate payment under the Term Note (the “Second Demand Letter”). A true and correct

copy of the Second Demand Letter is attached hereto as Exhibit 7. The Second Demand Letter

provides:

                 Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of
                 the Note, all principal, interest, and any other amounts due on the Note are
                 immediately due and payable. The amount due and payable on the Note as of
                 January 8, 2021 is $6,757,248.95; however, interest continues to accrue under the
                 Note.

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                 The Note is in default, and payment is due immediately.

Second Demand Letter (emphasis in the original).

                 43.        As of January 8, 2021, the total outstanding principal and accrued but

unpaid interest under the Term Note was $6,757,248.95.

                 44.        Pursuant to Section 4 of the Term Note, the Note is in default, and is

currently due and payable.

E.      The Debtor Files the Original Complaint

                 45.        On January 22, 2021, the Debtor filed the Complaint for (I) Breach of

Contract and (II) Turnover of Property of the Debtor’s Estate [Docket No. 1] (the “Original

Complaint”). In the Original Complaint, the Debtor brought claims for (i) breach of contract for

HCMS’s breach of its obligations under the Notes and (ii) turnover by HCMS for the outstanding

amounts under the Notes, plus all accrued and unpaid interest until the date of payment plus the

Debtor’s costs of collection and reasonable attorney’s fees.

F.      HCMS’s Affirmative Defenses

                 46.        On March 13, 2021, HCMS filed Highland Capital Management Services,

Inc.’s Answer to Plaintiff’s Complaint [Docket No. 6] (the “Original Answer”). In its Original

Answer, HCMS asserted four affirmative defenses: (i) the claims are barred in whole or in part

under the doctrines of justification or repudiation, (ii) waiver, (iii) estoppel, and (iv) offset and/or

setoff (the “Setoff Defense”). See id. ¶¶ 53-56.

                 47.        On June 11, 2021, HCMS filed its First Amended Answer to Plaintiff’s

Complaint [Docket No. 34] (the “Amended Answer”), that omitted the Setoff Defense but asserted

two affirmative defenses: (i) the Debtor previously agreed that it would not collect on the Notes




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“upon fulfillment of conditions subsequent” (i.e., the Alleged Agreement) id. ¶ 56, and (ii) the

Notes are “ambiguous,” id. ¶ 57.

                 48.        According to HCMS, the Alleged Agreement was orally entered into

“sometime between December of the year each note was made and February of the following

year.”

                 49.        According to HCMS, Mr. Dondero, acting on its behalf, entered into the

Alleged Agreement with his sister, Nancy Dondero, acting as the Representative.

                 50.        Mr. Dondero controlled the Debtor at the time he entered into the Alleged

Agreement on behalf of HCMS.

                 51.        Upon information and belief, the Debtor’s books and records do not reflect

the Alleged Agreement.

G.       Dugaboy Lacked Authority to Act on Behalf of the Debtor

                 52.        Under section 4.2 of the Fourth Amended and Restated Agreement of

Limited Partnership of Highland Capital Management, L.P. (the “Limited Partnership

Agreement”), and attached hereto as Exhibit 8, Dugaboy was not authorized to enter into the

Alleged Agreement on behalf of the Partnership, or otherwise bind the Partnership (as

“Partnership” is defined in the Limited Partnership Agreement).

                 53.        Section 4.2(b) of the Limited Partnership Agreement states:

                 Management of Business. No Limited Partner shall take part in the control (within
                 the meaning of the Delaware Act) of the Partnership’s business, transact any
                 business in the Partnership’s name, or have the power to sign documents for or
                 otherwise bind the Partnership other than as specifically set forth in this Agreement.

Exhibit 8, § 4.2(b).

                 54.        No provision in the Limited Partnership Agreement authorizes any of the

Partnership’s limited partners to bind the Partnership.


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                 55.        Nancy Dondero also lacked authority to enter into the Alleged Agreement

or to otherwise bind the Debtor.

                                      FIRST CLAIM FOR RELIEF

                                             (Against HCMS)

                                         (For Breach of Contract)

                 56.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 57.        The Notes are binding and enforceable contracts.

                 58.        HCMS breached each Demand Note by failing to pay all amounts due to

the Debtor upon the Debtor’s demand.

                 59.        HCMS breached the Term Note by failing to pay all amounts due to the

Debtor upon HCMS’s default and acceleration.

                 60.        Pursuant to each Note, the Debtor is entitled to damages from HCMS in an

amount equal to (i) the aggregate outstanding principal due under each Note, plus (ii) all accrued

and unpaid interest thereon until the date of payment, plus (iii) an amount equal to the Debtor’s

costs of collection (including all court costs and reasonable attorneys’ fees and expenses), for

HCMS’s breach of its obligations under each of the Demand Notes.

                 61.        As a direct and proximate cause of HCMS’s breach of each Demand Note,

the Debtor has suffered damages in the amount of at least $947,519.43, as of December 11, 2020,

plus an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

collection.

                 62.        As a direct and proximate cause of HCMS’s breach of the Term Note, the

Debtor has suffered damages in the amount of at least $6,757,248.95, as of January 8, 2021, plus



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an amount equal to all accrued but unpaid interest from that date, plus the Debtor’s cost of

collection.

                                    SECOND CLAIM FOR RELIEF

                                             (Against HCMS)

                        (Turnover by HCMS Pursuant to 11 U.S.C. § 542(b))

                 63.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 64.        HCMS owes the Debtor an amount equal to (i) the aggregate outstanding

principal due under each of the Notes, plus (ii) all accrued and unpaid interest thereon until the

date of payment, plus (iii) an amount equal to the Debtor’s costs of collection (including all court

costs and reasonable attorneys’ fees and expenses), for HCMS’s breach of its obligations under

each of the Notes

                 65.        Each Demand Note is property of the Debtor’s estate and the amounts due

under each Demand Note is matured and payable upon demand.

                 66.        The Term Note is property of the Debtor’s estate and the amounts due

under the Term Note is matured and payable upon default and acceleration.

                 67.        The Debtor has made demand for turnover of the amounts due under each

of the Notes

                 68.        As of the date of filing this Complaint, HCMS has not turned over to the

Debtor all or any of the amounts due under each of the Notes.

                 69.        The Debtor is entitled to the turnover of all amounts due under each of the

Notes.




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                            THIRD CLAIM FOR RELIEF
                                   (Against HCMS)
 (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 548(a)(1)(A)
                                      and 550)

                 70.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 71.        The Debtor made the transfers pursuant to the Alleged Agreement within

two years of the Petition Date.

                 72.        HCMS entered into the Alleged Agreement with actual intent to hinder,

delay, or defraud a present or future creditor, demonstrated by, inter alia:

                 (a) The transfers were made to, or for the benefit of, HCMS, an insider of the

                       Debtor.

                 (b) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                       sister, Nancy Dondero.

                 (c) Mr. Dondero did not inform the Debtor’s CFO or outside auditors about the

                       Alleged Agreement.

                 (d) The Debtor’s books and record do not reflect the Alleged Agreement.

                 (e) The Alleged Agreement was not subject to negotiation.

                 (f) The value of the consideration received by the Debtor for the transfers was not

                       reasonably equivalent in value.

                 73.        The pattern of conduct, series of transactions, and general chronology of

events under inquiry in connection with the debt HCMS incurred under the Notes demonstrates a

scheme of fraud.

                 74.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.


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                  75.       Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

obligations remaining under the Notes.

                           FOURTH CLAIM FOR RELIEF
                                   (Against HCMS)
  (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. §§ 544(b) and
                     550, and Tex. Bus. & C. Code § 24.005(a)(1))

                  76.       The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                  77.       The Debtor made the transfers pursuant to the Alleged Agreement after, or

within a reasonable time before, creditors’ claims arose.

                  78.       Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with

actual intent to hinder, delay, or defraud a present or future creditor of the Debtor, demonstrated

by, inter alia:

                  (g) The transfers were made to, or for the benefit of, HCMS, an insider of the

                        Debtor.

                  (h) Mr. Dondero entered into the Alleged Agreement on behalf of HCMS with his

                        sister, Nancy Dondero.

                  (i) Mr. Dondero did not inform the Debtor’s CFO or outside auditor’s about the

                        Alleged Agreement.

                  (j) Upon information and belief, the Debtor’s books and record do not reflect the

                        Alleged Agreement.

                  (k) The Alleged Agreement was not subject to negotiation.

                  (l) The value of the consideration received by the Debtor for the transfers was not

                        reasonably equivalent in value.


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                 79.        Pursuant to 11 U.S.C. § 550, the Debtor is entitled to recover for the benefit

of the Debtor’s estates the transfers made in exchange for the Alleged Agreement from HCMS.

                 80.        Accordingly, the Debtor is entitled to a judgement: (i) avoiding the Alleged

Agreement and the transfers thereunder, and (ii) recovering from HCMS an amount equal to all

obligations remaining under the Notes.


                                FIFTH CLAIM FOR RELIEF
                            (Against Dugaboy and Ms. Dondero)
           (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

                 81.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 82.        A bona fide, actual, present dispute exists between the Debtor, on the one

hand, and Dugaboy and Ms. Dondero on the other hand, concerning whether Dugaboy and/or Ms.

Dondero, acting as the Representative, were authorized to enter into the Alleged Agreement on the

Debtor’s behalf.

                 83.        A judgment declaring the parties’ respective rights and obligations will

resolve their dispute.

                 84.        Pursuant to Bankruptcy Rule 7001, the Debtor specifically seeks

declarations that:

                 •     (a) limited partners, including but not limited to Dugaboy, have no right or

                       authority to take part in the control (within the meaning of the Delaware Act)

                       of the Partnership’s business, transact any business in the Partnership’s name,

                       or have the power to sign documents for or otherwise bind the Partnership other

                       than as specifically provided in the Limited Partnership Agreement,




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                 •     (b) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) was authorized under the Limited Partnership Agreement to

                       enter into the Alleged Agreement on behalf of the Partnership,

                 •     (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                       Representative) otherwise had any right or authority to enter into the Alleged

                       Agreement on behalf of the Partnership, and

                 •     (d) the Alleged Agreement is null and void.

                                    SIXTH CLAIM FOR RELIEF
                                  (Against Dugaboy and Ms. Dondero)
                                      (Breach of Fiduciary Duty)

                 85.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 86.        If Dugaboy, as a limited partner, or Ms. Dondero, as Representative, had

the authority to enter into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or

Ms. Dondero would owe the Debtor a fiduciary duty.

                 87.        If Dugaboy or Ms. Dondero (as Representative) had the authority to enter

into the Alleged Agreement on behalf of the Debtor, then Dugaboy and/or Ms. Dondero breached

their fiduciary duty of care to the Debtor by entering into and authorizing the purported Alleged

Agreement on behalf of the Debtor.

                 88.        Accordingly, the Debtor is entitled to recover from Dugaboy and Ms.

Dondero (a) actual damages that the Debtor suffered as a result of their breach of fiduciary duty,

and (b) for punitive and exemplary damages.




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                                   SEVENTH CLAIM FOR RELIEF
                              (Against James Dondero and Nancy Dondero)
                            (Aiding and Abetting a Breach of Fiduciary Duty)

                 89.        The Debtor repeats and re-alleges the allegations in each of the foregoing

paragraphs as though fully set forth herein.

                 90.        James Dondero and Nancy Dondero (together, the “Donderos”) were aware

that Dugaboy would have fiduciary duties to the Debtor if it acted to bind the Debtor.

                 91.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duties to

the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                 92.        The Donderos aided and abetted Dugaboy’s breach of its fiduciary duty to

the Debtor by knowingly participating in the authorization of the purported Alleged Agreement.

                 93.        Accordingly, the Donderos are jointly and severally liable (a) for the

actual damages that the Debtor suffered as a result of aiding and abetting Dondero’s breaches of

fiduciary duties, and (b) for punitive and exemplary damages.

                 WHEREFORE, the Debtor prays for judgment as follows:

                 (i)        On its First Claim for Relief, damages in an amount to be determined at trial

                 but includes (a) the aggregate outstanding principal due under each Note, plus (b)

                 all accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                 equal to the Debtor’s cost of collection (including all court costs and reasonable

                 attorneys’ fees and expenses);

                  (ii)      On its Second Claim for Relief, ordering turnover by HCMS to the Debtor

                 of an amount equal to (a) the aggregate principal due under each Note, plus (b) all

                 accrued and unpaid interest thereon until the date of payment, plus (c) an amount

                 equal to the Debtor’s cost of collection (including all court costs and reasonable

                 attorneys’ fees and expenses);

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                 (iii)      On its Third Claim for Relief, avoidance of the Alleged Agreements and the

                 transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                 fraudulent transfer under section 548 of the Bankruptcy Code;

                 (iv)       On its Fourth Claim for Relief, avoidance of the Alleged Agreement and the

                 transfers thereunder pursuant to the Alleged Agreement of funds arising from actual

                 fraudulent transfer under Tex. Bus. & C. Code § 24.005(a)(1);

                 (v)        On its Fifth Claim for Relief, a declaration that: (a) limited partners,

                 including but not limited to Dugaboy, have no right or authority to take part in the

                 control (within the meaning of the Delaware Act) of the Partnership’s business,

                 transact any business in the Partnership’s name, or have the power to sign

                 documents for or otherwise bind the Partnership other than as specifically provided

                 in the Limited Partnership Agreement, (b) neither Dugaboy nor Ms. Dondero

                 (whether individually or as Representative) was authorized under the Limited

                 Partnership Agreement to enter into the Alleged Agreement on behalf of the

                 Partnership, (c) neither Dugaboy nor Ms. Dondero (whether individually or as

                 Representative) otherwise had any right or authority to enter into the Alleged

                 Agreement on behalf of the Partnership, and (d) the Alleged Agreement is null and

                 void;

                 (vi)       On its Sixth Claim for Relief, actual damages from Dugaboy and Ms.

                 Dondero, in an amount to be determined at trial, that Debtor suffered as a result of

                 their breach of fiduciary duty, and for punitive and exemplary damages;

                 (vii)      On its Seventh Claim for Relief, actual damages from the Donderos, jointly

                 and severally, in an amount to be determined at trial, that Debtor suffered as a result



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                 of aiding and abetting Dugaboy’s breaches of fiduciary duty, and for punitive and

                 exemplary damages; and

                 (iii)      Such other and further relief as this Court deems just and proper.



 Dated: As of July 13, 2021.                    PACHULSKI STANG ZIEHL & JONES LLP
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                                                Ira D. Kharasch (CA Bar No. 109084)
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                                                -and-

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                                                Counsel for Highland Capital Management, L.P.




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                                     PROMISSORY NOTE


$150,000.00                                                                         March 28, 2018


        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, NC.
(Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
("Payee"), in legal and lawful tender of the United States of America, the principal sum of ONE
HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), together with
interest, on the terms set forth below (the "Note"). All sums hereunder are payable to Payee at
300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
writing from time to time.

        1.     Interest Rate. The unpaid principal balance of this. Note from time to time
outstanding shall bear interest at a rate equal to-the long-term "applicable federal rate" (2.88 %)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed. and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest, The accrued interest and principal of this Note
shall be due and payable on demand of the Payee.

        3.      Prepayment Allowed: Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shaft, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a'waiver thereof

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof.
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             HI          APITAL MANAGEMENT
                                             SERVICES, INC.




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                                     PROMISSORY NOTE


$200,000.00                                                                           June 25, 2018


        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP.
("Payee"), in legal and lawful tender of the United States of America, the principal sum of TWO
HUNDRED THOUSAND and 00/100 Dollars ($200,000.00), together with interest, on the terms
set forth below (the "Note"). All sums hereunder ate payable to Payee at 300 Crescent Court,
Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from time to
time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the long-term `applicable federal rate" (3.05 %)
in effect on the date hereof for loans of such maturity as determined by Section I274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest The accrued interest and principal of this Note
shall be due and payable on demand of the Payee.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             H   L      CAPITA MANAGEMENT
                                             SERVICES, INC.




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                                     PROMISSORY NOTE


$400,000                                                                             May 29, 2019


        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
(“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
(“Payee”), in legal and lawful tender of the United States of America, the principal sum of
FOUR HUNDRED THOUSAND and 00/100 Dollars ($400,000.00), together with interest, on
the terms set forth below (the “Note”). All sums hereunder are payable to Payee at 300 Crescent
Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in writing from
time to time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.39%)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys’ fees and expenses incurred by the holder hereof.
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             FRANK WATERHOUSE




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                                     PROMISSORY NOTE


$150,000                                                                             June 26, 2019


        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
(“Maker”) promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, LP
(“Payee”), in legal and lawful tender of the United States of America, the principal sum of ONE
HUNDRED AND FIFTY THOUSAND and 00/100 Dollars ($150,000.00), together with
interest, on the terms set forth below (the “Note”). All sums hereunder are payable to Payee at
300 Crescent Court, Dallas, TX 75201, or such other address as Payee may specify to Maker in
writing from time to time.

        1.     Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at a rate equal to the short-term “applicable federal rate” (2.37%)
in effect on the date hereof for loans of such maturity as determined by Section 1274(d) of the
Internal Revenue Code, per annum from the date hereof until maturity, compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to
1/365th (1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual
number of days elapsed, and shall be payable on demand of the Payee.

        2.     Payment of Principal and Interest. The accrued interest and principal of this Note
shall be due and payable on demand.

        3.      Prepayment Allowed; Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof.

       4.      Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand,
presentment, notice of intent to accelerate, notice of acceleration, or any other notice of any kind
which are hereby waived, mature the principal of this Note and all interest then accrued, if any,
and the same shall at once become due and payable and subject to those remedies of the holder
hereof. No failure or delay on the part of Payee in exercising any right, power or privilege
hereunder shall operate as a waiver thereof.

        5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and
all other notices of any kind hereunder.

       6.       Attorneys’ Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys’ fees and expenses incurred by the holder hereof.
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       7.       Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document
evidencing, securing or pertaining to this Note, exceed the maximum interest rate allowed by
law. The terms and provisions of this paragraph shall control and supersede every other
provision of all agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.


                                             MAKER:




                                             FRANK WATERHOUSE




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                                 HIGHLAND CAPITAL MANAGEMENT, L.P.

 December 3, 2020

 Highland Capital Management Services, Inc.
 c/o Highland Capital Management, L.P.
 300 Crescent Court, Suite 700
 Dallas, Texas 75201
 Attention: Frank Waterhouse, CFO

         Re: Demand on Promissory Notes:

 Dear Mr. Waterhouse,

 Highland Capital Management Services, Inc. (“Maker”) entered into the following promissory
 notes (collectively, the “Notes”) in favor of Highland Capital Management, L.P. (“Payee”):

Date Issued      Original Principal   Outstanding Principal    Accrued But             Total Amount
                      Amount           Amount (12/11/20)      Unpaid Interest      Outstanding (12/11/20)
                                                                (12/11/20)
  3/28/18             $150,000            $158,776.59            $3,257.32              $162,033.91
  6/25/18             $200,000            $212,403.27            $2,999.54              $215,402.81
  5/29/19             $400,000            $409,586.19            $5,256.62              $414,842.81
  6/26/19             $150,000            $153,564.74            $1,675.16              $155,239.90
  TOTALS              $900,000            $934,330.79           $13,188.64              $947,519.43

 As set forth in Section 2 of each of the Notes, accrued interest and principal is due and payable
 upon the demand of Payee. By this letter, Payee is demanding payment of the accrued interest
 and principal due and payable on the Notes in the aggregate amount of $947,519.43, which
 represents all accrued and unpaid interest and principal through and including December 11,
 2020.

 Payment is due on December 11, 2020, and failure to make payment in full on such date
 will constitute an event of default under the Notes.

 Payments on the Notes must be made in immediately available funds. Payee’s wire information
 is attached hereto as Appendix A.

 Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Notes
 or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
 expressly reserved. Interest, including default interest if applicable, on the Notes will continue to
 accrue until the Notes are paid in full. Any such interest will remain the obligation of Maker.

 Sincerely,

 /s/ James P. Seery, Jr.

 James P. Seery, Jr.
 Highland Capital Management, L.P.
 Chief Executive Officer/Chief Restructuring Officer



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cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo




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                                     Appendix A


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                   Bank Name:      East West Bank
                   Account Name:   Highland Capital Management, LP
                   Account #:      5500014686
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                                      PROMISSORY NOTE

$20,247,628.02                                                                         May 31, 2017

        THIS PROMISSORY NOTE (this "Note") is in substitution for and supersedes in their
entirety each of those certain promissory notes described in Exhibit A hereto, from Highland
Capital Management Services, Inc., as Maker, and Highland Capital Management, L.P. as Payee
(collectively, the "Prior Notes"), together with the aggregate outstanding principal and accrued
and unpaid interested represented thereby.

        FOR VALUE RECEIVED, HIGHLAND CAPITAL MANAGEMENT SERVICES, INC.
("Maker") promises to pay to the order of HIGHLAND CAPITAL MANAGEMENT, L.P.
("Payee"), in legal and lawful tender of the United States of America, the principal sum of
TWENTY MILLION, TWO HUNDRED FORTY SEVEN THOUSAND, SIX HUNDRED
TWENTY EIGHT AND 02/100 DOLLARS ($20,247,628.02), together with interest, on the terms
set forth below. All sums hereunder are payable to Payee at 300 Crescent Court, Suite 700, Dallas,
Texas 75201, or such other address as Payee may specify to Maker in writing from time to time.

       1.      Interest Rate. The unpaid principal balance of this Note from time to time
outstanding shall bear interest at the rate of two and seventy-five hundredths percent (2.75%) per
annum from the date hereof until Maturity Date (hereinafter defined), compounded annually on
the anniversary of the date of this Note. Interest shall be calculated at a daily rate equal to 1/365th
(1/366 in a leap year) of the rate per annum, shall be charged and collected on the actual number
of days elapsed, and shall be payable annually.

       2.      Payment of Principal and Interest. Principal and interest under this Note shall be
payable as follows:

           2.1     Annual Payment Dates. During the term of this Note, Borrower shall pay the
    outstanding principal amount of the Note (and all unpaid accrued interest through the date of
    each such payment) in thirty (30) equal annual payments (the "Annual Installment") until
    the Note is paid in full. Borrower shall pay the Annual Installment on the 31st day of December
    of each calendar year during the term of this Note, commencing on the first such date to occur
    after the date of execution of this Note.

          2.2    Final Payment Date.        The final payment in the aggregate amount of the
    then outstanding and unpaid Note, together with all accrued and unpaid interest thereon, shall
    become immediately due and payable in full on December 31, 2047 (the "Maturity Date").

        3.      Prepayment Allowed., Renegotiation Discretionary. Maker may prepay in whole
or in part the unpaid principal or accrued interest of this Note. Any payments on this Note shall
be applied first to unpaid accrued interest hereon, and then to unpaid principal hereof

        4.     Acceleration Upon Default. Failure to pay this Note or any installment hereunder
as it becomes due shall, at the election of the holder hereof, without notice, demand, presentment,
notice of intent to accelerate, notice of acceleration, or any other notice of any kind which are
hereby waived, mature the principal of this Note and all interest then accrued, if any, and the same
shall at once become due and payable and subject to those remedies of the holder hereof. No
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failure or delay on the part of Payee in exercising any right, power or privilege hereunder shall
operate as a waiver thereof.

       5.      Waiver. Maker hereby waives grace, demand, presentment for payment, notice of
nonpayment, protest, notice of protest, notice of intent to accelerate, notice of acceleration and all
other notices of any kind hereunder.

       6.      Attorneys' Fees. If this Note is not paid at maturity (whether by acceleration or
otherwise) and is placed in the hands of an attorney for collection, or if it is collected through a
bankruptcy court or any other court after maturity, the Maker shall pay, in addition to all other
amounts owing hereunder, all actual expenses of collection, all court costs and reasonable
attorneys' fees and expenses incurred by the holder hereof.

       7.      Limitation on Agreements. All agreements between Maker and Payee, whether
now existing or hereafter arising, are hereby limited so that in no event shall the amount paid, or
agreed to be paid to Payee for the use, forbearance, or detention of money or for the payment or
performance of any covenant or obligation contained herein or in any other document evidencing,
securing or pertaining to this Note, exceed the maximum interest rate allowed by law. The terms
and provisions of this paragraph shall control and supersede every other provision of all
agreements between Payee and Maker in conflict herewith.

        8.     Governing Law. This Note and the rights and obligations of the parties hereunder
shall be governed by the laws of the United States of America and by the laws of the State of
Texas, and is performable in Dallas County, Texas.

      9.    Prior Notes.       The original of each of the Prior Notes superseded hereby shall be
marked "VOID" by Payee.


                                               MAKER:

                                               HIGHLAND CAPITAIJNI,ANAGEMENT
                                               SERVICES, Imo.


                                               By:
                                               Name:
                                               Title:




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                                    EXHIBIT A

                                   PRIOR NOTES

                                                        Principal and Interest
                    Initial Note
    Loan Date                        Interest Rate         Outstanding as
                      Amount
                                                           of May 31, 2017
     5/29/15          $500,000          2.30%                  $523,095
    10/1/15           $350,000          2.58%                  $315,500
    10/2/15           $310,000          2.58%                  $323,301
    10/27/15          $200,000          2.58%                  $208,228
    10/28/15          $200,000          2.58%                  $208,214
    10/30/15          $100,000          2.58%                  $104,093
    11/23/15          $100,000          2.57%                  $103,908
    11/24/15          $250,000          2.57%                  $259,752
     2/10/16        $2,000,000          2.62%                  $ 83,390
    2/11/16           $250,000          2.62%                  $258,524
     4/5/16         $6,000,000          2.25%                 $6,155,712
      5/4/16         $2,700,000         2.24%                 $2,764,954
      7/1/16           $30,000          2.18%                   $30,598
     8/5/16           $525,000          2.18%                  $534,375
     8/22/16          $250,000          2.18%                  $254,465
     9/22/16          $185,000          2.18%                  $187,773
    12/12/16         $7,700,000         2.26%                 $7,781,050
     3/31/17          $150,000          2.78%                  $150,697
                    $21,800,000                             $20,247,628.02




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                            HIGHLAND CAPITAL MANAGEMENT, L.P.




January 7, 2021




Highland Capital Management Services, Inc.
c/o Bonds Ellis Eppich Schafer Jones LLP
420 Throckmorton Street, Suite 1000
Fort Worth, Texas 76012
Attention: James Dondero

        Re: Demand on Promissory Note

Dear Mr. Dondero,

On May 31, 2017, Highland Capital Management Services, Inc. entered into that certain
promissory note in the original principal amount of $20,247,628.02 (the “Note”) in favor of
Highland Capital Management, L.P. (“Payee”).

As set forth in Section 2 of the Note, accrued interest and principal on the Note is due and
payable in thirty equal annual payments with each payment due on December 31 of each
calendar year. Maker failed to make the payment due on December 31, 2020.

Because of Maker’s failure to pay, the Note is in default. Pursuant to Section 4 of the Note, all
principal, interest, and any other amounts due on the Note are immediately due and payable. The
amount due and payable on the Note as of January 8, 2021 is $6,757,248.95; however, interest
continues to accrue under the Note.

The Note is in default, and payment is due immediately. Payments on the Note must be made
in immediately available funds. Payee’s wire information is attached hereto as Appendix A.

Nothing contained herein constitutes a waiver of any rights or remedies of Payee under the Note
or otherwise and all such rights and remedies, whether at law, equity, contract, or otherwise, are
expressly reserved. Interest, including default interest if applicable, on the Note will continue to
accrue until the Note is paid in full. Any such interest will remain the obligation of Maker.

Sincerely,

/s/ James P. Seery, Jr.

James P. Seery, Jr.
Highland Capital Management, L.P.
Chief Executive Officer/Chief Restructuring Officer


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cc:     Fred Caruso
        James Romey
        Jeffrey Pomerantz
        Ira Kharasch
        Gregory Demo
        D. Michael Lynn




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                                     Appendix A


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                   Bank Name:      East West Bank
                   Account Name:   Highland Capital Management, LP
                   Account #:      5500014686
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                      FOURTH AMENDED AND RESTATED

                    AGREEMENT OF LIMITED PARTNERSHIP

                                     OF

                    HIGHLAND CAPITAL MANAGEMENT, L.P.




THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
AGREEMENT HAVE
            HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.
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                                 FOURTH AMENDED AND RESTATED
                               AGREEMENT OF LIMITED PARTNERSHIP
                                              Of'
                                              OF
                               HIGHLAND CAPITAL MANAGEMENT, L.P.

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                             FOURTH AMENDED AND RESTATED
                           AGREEMENT OF LIMITED PARTNERSHIP
                                          OF
                           HIGHLAND CAPITAL MANAGEMENT, L.P.

        THIS FOURTH AMENDED AND RESTATED    RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                        24 1h day of December, 2015, to be effective as of December 24, 2015, by and
is entered into on this 24th
among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Partners
                                                                                                Pat1ners
party hereto, and any Person hereinafter admitted as a Limited Partner.
                                                               Pai1ner.

        Certain terms used in this Agreement are defined in Article 2.

                                              ARTICLE 11

                                              GENERAL

        1.1.     Continuation. Subject to the provisions of this Agreement, the Partners
                                                                                Pa11ners hereby continue
the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Act. Except as
expressly provided herein, the rights and obligations of the Partners and the administration and
termination of the Partnership shall be governed by the Delaware Act.
                                                                 Act.

        1.2.     Name. The name of the Partnership shall be, and the business of the Partnership shall be
conducted under the name of Highland Capital Management, L.P.  L.P. The General Partner, in its sole and
                                                                              from time to time and shall
unfettered discretion, may change the name of the Partnership at any time and from
provide Limited Partners with written notice of such name change within twenty (20) days after such
name change.

         1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
indirectly through another partnership, joint venture, or other arrangement.

        1.4.     Term. The Partnership was formed as a limited partnership on July 7.
                                                                                   7, 1997.
                                                                                      1997, and shall
continue until terminated pursuant to this Agreement.

        1.5.    Partnership Offices; Addresses of Partners.

                 (a)      Partnership Offices. The registered office of the Partnership in the State of
                     IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
Delaware shall be 1013
service of process on the Partnership at that registered office shall be Corporation Service Company, or
such other registered office or registered agent as the General Partner may from time to time designate.
                                                                                  Dallas, Texas 75201, or
The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas,
sueh other place as the General Partner may from time to time designate. The Partnership
such                                                                             Pai1nership may maintain
offices at such other place or places as the General Partner deems advisable.

                (b)     Addresses of Partners. The address of the General Partner is 300
                                                                                     3 00 Crescent Court,
Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
the General Partner with prompt written notice of any change in his/her/its address.
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                                                 ARTICLE 2

                                               DEFINITIONS

        2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
unless otherwise clearly indicated to the contrary in this Agreement:

                  "Ach&howl Capital Contribution" has the meaning set forth in Section 3.1(b) of this
Agreement.

                 "Adjusted
                 ·'Adjusted Capital
                              Cllpita/ Account Deficit"
                                                      Deficit" means, with respect to any Partner, the deficit
balance, if any,
            an), in the Capital Account
                                  Aceount of that Partner as of the end of the relevant Fiscal Year, or other
relevant period, giving effect to all adjustments previously made thereto pursuant to Section 3.7 and
further adjusted as follows:
                    follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
Regulations Section 1.704-1(b)(2)(ii)(c);
                        l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
Treasury Regulations Sections 1.704-1(b)(2)(ii)(d)(4),
                                    l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
(B) that Partner's share of "partner
                                "paitner nonrecourse debt minimum gain." (Each Partner's share of the
minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
Regulations Sections 1.704-2(g)
                       l .704-2(g) and 1.704-2(i)(5),
                                          l .704-2(i)(5), respectively.)

                 "Affiliate"
                 ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
under common control with the Person in question. As used in this definition, the term "control"
                                                                                             ·'controf' means
the possession,
    possession. directly or indirectly, of the power to direct or cause the direction of the management and
policies of a Person, whether through ownership of voting Securities, by contract or otherwise.
                                                                                       otherwise .

                 "Agreement"
                  ..Agreement" means this Fourth Amended and Restated Agreement of Limited
Partnership, as it may be amended, supplemented, or restated from time to time.

                "Business Day"
                           Day" means Monday through Friday of each week, except that a legal holiday
recognized as such by the government of the United States or the State of Texas shall not be regarded as a
Business Day.

                  "Capital
                  ·'Capital Account" means the capital
                                               eapital account maintained for a Partner pursuant to
Section 3.7(a).

                "Capital Contribution" means, with respect to any Partner, the amount of money or
property contributed to the Partnership
                            Pa1tnership with respect to the interest in the Partnership held by that Person.

               "Certificate of Limited Partnership" means the Certificate
                                                              Ce1tificate of Limited Partnership filed
with the Secretary of State of Delaware by the General Partner, as that Certificate
                                                                         Cettificate may be amended,
supplemented or restated from time to time.

                 "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
Interest, as shown on Exhibit A.

                  "Class A Limited Partnership Interest"
                                               Interest" means a Partnership Interest held by a Partner in
its capacity as a Class A Limited Partner."
                                  Partner.''




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                 "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
Interest, as shown on ==~~·
                      Exhibit A.

                  "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
                                  Partner.-
its capacity as a Class B Limited Partner."

                               NA V Ratio Trigger Period" means any period during which the Class B
                  ''Cfa.t:;s B NAV
                  "Class
Limited Partner's aggregate capital contributions, including the original principal balance of the
              Note. and reduced by the aggregate amount of distributions to the Class B Limited Partner,
Contribution Note,
exceed 75 percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
total book value of the Partnership; provided, however, that the General Partner shall only be required to
                     NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
test for a Class B NAV
further the General Partner must complete the testing within 180 days of the end of each calendar year;
                                                       NA V Ratio Trigger Period, the General Partner may,
provided further that if the test results in a Class B NAV
at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                                  Partner" means those Partners holding a Class C Limited Partnership
                 "Class C Limited Partner"
Interest, as shown on Exhibit A.

                  "Class C Limited  Partnership Interest" means a Partnership Interest held by a Partner
                           Lirnited Partners/tip                                                 Pa11ner in
its capacity as a Class C Limited Partner."

                "Class C NAV
                          NA V Ratio Trigger Period"
                                                Period" means any period during which an amount equal to
$93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
                                         NA V Ratio Trigger Period annually, as of the last day of each
only be required to test for a Class C NAV
calendar year; provided further the General Partner must complete the testing within 180 days of the end
of each calendar year; provided further that if the test results in a Class C NAV
                                                                              NA V Ratio Trigger Period, the
General Partner may, at its own election, retest at any time to determine the end date of the Class C NAV
                                                                                                      NA V
Ratio Trigger Period.

                "Code"
                "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
time.

              "Contribution
              ''Contribution Note"
                             Note" means that certain Secured Promissory Note dated December 21,
2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                "Default
                ''Default Loan" has the meaning set forth in Section 3.1(c)(i).
                                                                     3 .1( c)(i).

                "Defaulting Partner"
                            Partner." has the meaning set forth in Section 3.1(c).
                                                                           3.1 (c).

                "Delaware Act" means the Delaware Revised Uniform
                                                            Unifonn Limited Partnership
                                                                              Pai1nership Act, Part
                                                                                               Pai1 IV,
Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
restated from time to time, and any successor to that Act.

                "Effective Date" means the date first recited above.

                "Fiscal  Year" has the meaning set forth in Section 3.11(b).
                ''Fiscal Year''                                     3.1 l(b).




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               "Founding Partner Group" means, all partners holding partnership interests in
                                                                                          m the
Partnership immediately before the Effective Date.

                "General Partner"
                          Partner'' means any Person who (i) is referred to as such in the first paragraph
of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
not ceased to be a General Partner pursuant to the terms of this Agreement.

                "Limited Partner"
                          Partner'' means any Person who (i) is referred to as such in the first paragraph
of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
not ceased to be a Limited Partner pursuant to the terms of this Agreement.

                    "Liquidator" has the meaning set forth in Section 5.3.

                "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
appropriate,
expenditures described in Code Section 705(a)(2)(B).

                 "Majority
                 ''Majori(v Interest"
                            Interest'' means the owners of more than fifty percent (50%)
                                                                                   ( 50%) of the Percentage
Interests of Class A Limited Partners.

               "NAV
               ''NA V Ratio
                      Ratio Trigger Period"
                                    Period" means a Class B NAV
                                                            NA V Ratio Trigger Period or a Class C
NAV
NA V Ratio Trigger Period.

                  "Net Increase
                        Increase in
                                  in Working Capital Accounts" means the excess of (i) Restricted Cash
plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
the beginning of the period being measured; provided, however, that amounts within each of the
aforementioned categories shall be excluded from the calculation to the extent they are specifically
identified as being derived from investing or financing activities. Each of the capitalized terms in this
definition shall have the meaning given them in the books and records of the Partnership and appropriate
adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
that are current assets or current liabilities.

               "New
               ''New Issues"
                      Issues" means Securities that are considered to be "new issues," as defined in the
Conduct Rules of the National Association of Securities Dealers, Inc.

                  "Nonrecourse Deduction" has the meaning set forthfo1th in Treasury Regulations Section
1.704-2(b)(1),                                                  1. 704-2( c ).
I. 704-2(b )(I), as computed under Treasury Regulations Section 1.704-2(c).

                    "Nonrecourse
                    "No11recour.\·e Liability"
                                    Liability'' has the meaning set forth in Treasury Regulations Section
1.704-2(b)(3).
l. 704-2(b )(3 ).

                "Operating Cash
                              Cash Flow"
                                     Flow" means Total Revenue less Total Operating Expenses plus
Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
capitalized terms in this definition shall have the meaning given them in the books and records of the
Partnership.



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                   Paniter- means a General Partner or a Limited Partner.
                  "Parmer''

                            No11recourse Debt" has the meaning set forth in Treasury Regulations Section
                  -Partner Nonrecourse
                  "Part11er
1.704-2(6)(4).
l .704-2(b)(4).

                -Partner              Deductions- has the meaning set forth in Treasury Regulations
                 "Partner Nonrecourse Deductions"
Section 1.704-2(1)(2).
        l .704-2(i)(2).

                                                    Gain'' has the meaning set forth in
                                         11-finimum Gain"
               "Partner Nonrecourse Debt Minimum                                     m Treasury
Regulations Section 1.704-2(i)(5).

                "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
                "Partnership"
partnership established pursuant to this Agreement.

                             Capitaf' means, as of any relevant date, the net book value of the
                "Partnership Capital"
Partnership's assets.

                ''Part11ersltip Interest"
                "Partnership    Interest" means the interest acquired by a Partner in the Partnership
including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
manage and operate the Partnership.
                         Pa1inership.

                                                                  fo1ih in Treasury Regulations Section
                  "Partners/tip Minimum Gain" has the meaning set forth
                  "Partnership
1.704-2(d).
l. 704-2( d).

                ·'Percentage Interest"
                "Percentage  Interest" means the percentage set forth opposite each Partner's name on
Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
organization, association, or other entity.

                  "Priority Distributions" has the meaning set forth
                                                               f01ih in Section 3.9(b).

                "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
                "Profits"
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
income described in Code Section 705(a)(1)(B).
                                   705(a)( 1)(B).

                 "Profits Interest Partner"
                                     Partner" means any Person who is issued a Partnership Interest that is
treated as a "profits interest" for federal income tax purposes.

                         Notes" means those certain Secured Promissory Notes of even date herewith
               "Purchase Notes"
by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
Mark K. Okada, The Mark and Pamela Okada Family Trust — Exempt Trust    1, and The Mark K. Okada,
                                                                 Trust##1,
The Mark and Pamela Okada Family Trust -— Exempt Trust #2, each
"rile                                                      eaeh as Payees of the respective Secured
Promissory Notes.




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                  "Record
                  ·'Record Date"
                           Date'' means the date established by the General Partner for determining the
identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to exercise
rights in respect of any other lawful action of Limited Partners.

               "Second Amended Buy-Sell and Redemption Agreement"
                                                         Agreement'' means that certain Second
Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
supplemented, or restated from time to time.

                   "Securities"             following: (i) securities of any kind (including, without limitation,
                   ''Securities·' means the following:
·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
"securities"
(as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
thereunder);
any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
                         interests. debentures, notes, certificates of deposit, letters of credit, bankers
bonds, mutual fund interests,
ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
acceptances,
marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
foreign country or any state or possession of the United States or any foreign country or any political
subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.
                                                                                                    foregoing.

                 "Securities Act" means the Securities Act of 1933, as amended, and any successor to
such statute.

                                     Partner" has the meaning set forth in Section 4.6(a).
                 "Substitute Limited Partner"

                 "Transfer" or derivations thereof,
                                           thereof~ of a Partnership Interest means, as a noun, the transfer,
       assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
sale, assignment,
      thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
part thereof,
exchange, pledge, hypothecate or otherwise dispose of.
                                                     oC

                "Treasury Regulations" means the Department of Treasury Regulations promulgated
under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

        2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
have the meanings contained elsewhere in this Agreement.

                                                 ARTICLE 3

                                         FINANCIAL MATTERS

        3.1.     Capital Contributions.

                  (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
shall be set forth in the books and records of the Partnership.

                 (b)     Additional Capital Contributions.


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                        (i)      The General Partner, in its reasonable discretion and for a bona fide
business purpose, may request in writing that the Founding Partner Group make additional Capital
Contributions in proportion to their Percentage                     ''Additional Capital
                                     Percentage Interests (each, an "Additional  Capitlll Contribution").
                                                                                          Contribution").

                          (ii)
                          (ii)     Any failure by a Partner to make an Additional Capital Contribution
requested under Section 3.1(b)(i) on or before the date on which that Additional Capital Contribution was
due shall result in the Partner being in default.

                 (c)      Consequences to Defaulting Partners. In the event a Partner is in default under
=====:c..:~~
Section 3.1(b) (a "Defaulting Partner"),
                              Partner''), the Defaulting Partner, in its sole and unfettered discretion, may
elect to take either one of the option set forth below.

                            (i)       Default Loans. If If the Defaulting
                                                               Defaulting Partner so elects, the General Partner
 shall make a loan to the Defaulting
                              Defaulting Partner in an amount equal to that Defaulting Partner's additional
capital contribution (a "Default Loan").
                                      Loan"). A Default Loan shall be deemed advanced on the date actually
advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
 the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
 which the loan is deemed made) from the date actually advanced until the same is repaid in full.  full. The term
of any Default
         Default Loan shall be six (6) months, unless otherwise extended by the General PartnerPa1iner in its sole
and unfettered discretion. If   If the General Partner makes a Default Loan, the Defaulting Partner shall not
receive any distributions pursuant to Section 3.9(a) or Section 5.3 or any proceeds from the Transfer of all
or any part of its Partnership
                      Patinership Interest while the Default
                                                        Default Loan remains unpaid.
                                                                                unpaid. Instead, the Defaulting
                                                                                                        Defaulting
Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
shall have been repaid in full)
                             full) first be paid to the General Partner. Such payments shall be applied first to
the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
but shall be considered, for all other purposes of this Agreement, to have been distributed to the
Defaulting Partner. The Defaulting
                             Defaulting Partner shall be liable for the reasonable fees and expenses incurred
by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
addition,
addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
repay,
 repay, in full,
           full, the Default Loan (including interest and any other charges). If  If the General Partner makes a
Default Loan,
          Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
to the General Partner
                   Pa1iner a continuing first priority security interest in, all of the Defaulting Partner's
                                                                                                          Patiner's
Partnership
Pa1inership Interest to secure the payment of the principal of,      of, and interest on, such Default Loan in
accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing         financing
statements, continuation statements or other documents and take such other actions as the General Partner
shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
documents and take all such other actions as may be required to perfect such security interest. Such
appointment and authorization are coupled with an interest and shall be irrevocable. The General Partner    Patiner
shall, prior to exercising any right or remedy (whether at law,  law, in equity or pursuant to the terms hereof)
available to it in connection with such security interest, provide to the Defaulting Partner Partner a notice, in
reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
shall not be less than five (5) days following
                                        following the date of such notice.




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                        (ii)
                        ( ii)     Reduction of Percentage Interest. If the Defaulting Partner does not elect
to obtain a Default Loan pursuant to Section 3.1(c)(i),
                                                3.](c)(i), the General Partner shall reduce the Defaulting
Partner's Percentage Interest in accordance with the following formula:
                                                                formula:

         The Defaulting Partner's new Percentage Interest shall equal the product of (1)     (I) the
         Defaulting Partner's current Percentage Interest,
                                                   Interest multiplied by (2) the quotient of (a) the
         current Capital Account of the Defaulting Partner (with such Capital Account determined
         after taking into account a revaluation of the Capital Accounts immediately prior to such
         determination), divided by (b) the sum of (i) the current Capital Account of the
         Defaulting Partner (with such Capital Account determined after taking into account a
         revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
         the amount of the additional capital contribution that such Defaulting Partner failed to
         make when due.

To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
        3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
Section 3.1(c)(ii),
proportion to their respective Percentage Interests.

         3.2.    Allocations of Profits and Losses.

                (a)      Allocations of Profits. Except as provided in Sections 3.4, 3.5, and 3.6, Profits
                                                                    in===~-''
for any Fiscal Year will be allocated to the Partners as follows:
                                                         follows:

                            (i)      First, to the Partners until cumulative Profits allocated under this Section
3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
3.21_b)(iii)
3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                           (ii)     Next, to the Partners until cumulative Profits allocated under this Section
3.2(a)(ii) for all prior periods equal the cumulative Losses allocated to the Partners under Section
3.2(b)(ii) for all prior periods in the inverse order in which such Losses were allocated; and

                          (iii)   Then, to all Partners
                                               Patiners in proportion to their respective Percentage
Interests.

                (b)      Allocations of Losses. Except as provided in Sections 3.4,
                                                                               3 .4, 3.5,
                                                                                     3 .5, and 3.6,
                                                                                               3 .6, Losses
for any Fiscal Year will be will be allocated as follows:
                                                 follows:

                             (i)      First, to the Partners until cumulative Losses allocated under this Section
3 .2(b
3.2(b)(i)
       )(i) for  all  prior periods   equal   the cumulative Profits allocated to the Partners under Section
3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and
3.2(a)(iii)

                          (ii)    Next, to the Partners in proportion to their respective positive Capital
Account balances until the aggregate Capital Account balances of the Partners
                                                                         Pa11ners (excluding
                                                                                   ( excluding any negative
Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
that were last allocated to the Capital Accounts of the Partners; and

                         (iii)    Then, to all Partners in proportion to their respective Percentage
Interests.




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                (c)
                (c)    Limitation on Loss Allocations. If any allocation of Losses would cause a
Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
the General Partner.

         3.3.     Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
          Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
existing Partners
Section 4.3(d).
         4.3( d).

         3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
special allocations shall be made in the following order:

                 (a)       Partnership Minimum Gain Chargeback.
                                                      Chargcback. Notwithstanding any other provision of
this Article 3, if there is a net decrease in Partnership Minimum Gain during any taxable year or other
period for which allocations are made, prior to any other allocation under this Agreement, each Partner
shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
subsequent periods) in proportion to, and to the extent of,
                                                          oL an amount equal to that Partner's share of the
net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
Regulations Section 1.704-2(g)(2).
                       I .704-2(g)(2). The items to be allocated shall be determined in accordance with
Treasury Regulations Section 1.704-2(g). This Section 3.4(a) is intended to comply with the partnership
minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
provided therein.

                (b)      Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
other provision of this Article 3 (other than Section 3.4(a)), if there is a net decrease in Partner
Nonrecourse Debt Minimum Gain with respect to a Partner Nonrecourse
                                                              Nonreeourse Debt during any taxable year or
other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
or the net decrease in the Partner
of                           Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
                                                   l.704-2(g)(2). The items to be so allocated shall be
accordance with Treasury Regulations Section 1.704-2(g)(2).
determined in accordance with Treasury Regulations Section 1.704-2(g).
                                                               l .704-2(g). This Section 3.4(b) is intended
to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
exceptions provided therein.

                 (c)      Oualified
                          Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
                                                                            I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5)
allocations or distributions described in Treasury Regulations Sections 1.704-1(b)(2)(ii)(d)(4),           (d)(5) or
(d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
pursuant to this Section 3.4(c)
                           3 .4( c) shall be made if and only to the extent that the Partner would have an
Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
tentatively made without considering this Section 3.4(c).

                  (d)
                  ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
any Fiscal Year of the Partnership that exceeds the sum of (i)   ( i) the amount the Partner is obligated to
restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
                                              I. 704-2(g)(l) and 1.704-2(i)(5),
sentences of Treasury Regulations Sections 1.704-2(g)(1)          1. 704-2(i)(5), then each such Partner shall
be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
as possible; provided, however, an allocation pursuant to this Section 3.4(4)
                                                                          3 .4(d) shall be made if and only to

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the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
allocations provided for in this Article 3 have been tentatively made without considering Section 3.4(c) or
3.4(d).

                (e)
                ( e)   Nonrecourse Deductions. Nonrecourse
                                                 Nonrecourse Deductions for any taxable year or other
period for which allocations are made shall he allocated among the Partners in accordance with their
Percentage interests.

                (f)
                 (f)   Partner Nonrecourse Deductions. Notwithstanding anything to the contrary in
this Agreement, any Partner Nonrecourse
                              Nonreeourse Deductions for any taxable year or other period for which
allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
with Treasury Regulations Section 1.704-2(i).
                                   l .704-2(i).

                 (g)
                 (g)     Section 754 Adjustments. To the extent an adjustment to the adjusted tax basis
of any asset of the Partnership under Code Section 734(b) or Code Section 743(b)
                                                                               7 43(b) is required, pursuant to
Treasury Regulations Section 1.704-1(b)(2)(iv)(m),
                                 l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
Accounts, the amount of the adjustment to the Capital Accounts
                                                          Aceounts shall be treated as an item of gain (if the
adjustment increases the basis of the asset) or loss (if
                                                     (if the adjustment decreases the basis of the asset) and
that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
Regulations.

                (h)     Section 481 Adjustments. Any allocable items of income, gain, expense,
deduction or credit required to be made by Section 481 481 of the Code as the result of the sale, transfer,
exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
Partnership Interest whether such items are positive or negative in amount.
                                                                    amount.

        3.5.     Curative Allocations. The "Basic
                                              ·'Basic Regulatory Allocations" consist of (i)
                                                                                         (i) the allocations
pursuant to Section 3.2(c). and (ii)
                                (ii) the allocations pursuant to Sections 3.4. Notwithstanding any other
provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
amount of the allocations of other items and the Basic Regulatory
                                                           Regulatory Allocations to each Partner shall be
equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
shall be allocated in accordance with the Partners'
                                           Pa11ners' varying Percentage Interests throughout each tax year
during which such items are recognized for tax purposes.

         3.6.     Code Section 704(c) Allocations.
                                           Allocations. In In accordance with Code Section 704(c) and the
Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
account of any variation at the time of the contribution between the tax basis of the property to the
Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
or other decisions relating to those allocations shall be made by the General Partner in any manner that
reasonably reflects the purpose and intent of this Agreement.
                                                         Agreement. Allocations of income, gain, gain, loss and
deduction pursuant to this Section 3.6
                                    3 .6 are solely for purposes of federal,
                                                                    federal, state and local taxes and shall not
affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share

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of Profits, Losses, other tax items or distributions of any Partner pursuant to any provision of this
Agreement.

        3.7.     Capital Accounts.

                 (a)    Maintenance of Capital Accounts. The Partnership shall establish and maintain a
separate capital account ("Capital
                         ('Capital Account")             Pa1iner in accordance with the rules of Treasury
                                   Account') for each Partner
                     l.704-l(b)(2)(iv), subject to and in accordance with the provisions set forth
Regulations Section 1.704-1(b)(2)(iv),                                                        fotih in this
Section 3.7.

                         (i)     The Capital Account balance
                                                         balanee of each Partner shall be credited (increased)
by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
         propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
value of property
that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
(C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
specially allocated pursuant to Sections 3.4 and 3.5;· and

                         (ii)     The Capital Account balance of each Partner shall be debited (decreased)
by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
                               3 .2, 3.4 and 3.5.
allocated pursuant to Sections 3.2,

The provisions of this Section 3.7
                               3. 7 and the other provisions of this Agreement relating to the maintenance
of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
with those provisions. The General Partner may modify the manner in which the Capital Accounts are
maintained under this Section 3.7 3. 7 in order to comply with those provisions, as well as upon the
occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                (b)     Negative Capital Accounts. If any Partner has a deficit balance in its Capital
Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
Contribution by reason thereof, and that negative balance shall not be considered an asset of the
Partnership or of any Partner.

                (c)                                                Patinership on Capital Contributions or
                        Interest. No interest shall be paid by the Partnership
on balances in Capital Accounts.

                (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
except as provided in Section 3.9 and Article 5.

               (e)
               ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
considered Capital Contributions.

              (f)
               ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
                                                                              1. 704( c )-1 (b )(2)(iv )( f) or
"'booked-down" to their fair market values under Treasury Regulations Section 1.704(c)-1(b)(2)(iv)(0
"booked-down"
otherwise.



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          3.8.      Distributive Share for Tax Purpose. All items of income, deduction, gain, loss or
credit that are recognized for federal income tax purposes will be allocated among the Partners in
accordance with                      or Profits and Losses hereunder as determined by the General Partner in
               v,ith the allocations of
its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
       Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
New Issue,
any short-term capital gains realized during the Fiscal Year upon the disposition of such New Issue during
                                                             ( or loss) to Partners who withdraw capital during
that Fiscal Year, and (ii) specially allocate items of gain (or
any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or  (or loss) in
an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
           propo11ionate amount thereof); provided, however, that the General Partner may, without the
time (or proportionate
consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
determines such alteration to be necessary or appropriate to avoid a materially inequitable result (e.g.,
where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
of allocating tax items as the General Partner determines
                                                      detennines is necessary or appropriate in order to be
consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704(c).
                                                                                                      704( c ).

        3.9.
        3. 9.    Distributions.

                  (a)      General. The General Partner may make such pro rata or non-pro rata
distributions as it may determine in its sole and unfettered discretion, without being limited to current or
accumulated income or gains, but no such distribution shall be made out of funds required to make
current payments on Partnership indebtedness; provided, however, that the General Partner may not make
non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
consent of the Class B Limited Partner (in the case of a Class B NAV NA V Ratio Trigger Period) and/or the
Class C Limited Partner (in the case of a Class C NAV   NA V Ratio Trigger Period); provided, further this
provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
credit facilities with financial institutions that may limit the amount and timing of distributions to the
            Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
Partners. Thus,
distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3.9(a)
3.9(b)                                                                                     3 .9(a) until such
aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
Partners under Section 3.9(b).
                         3 .9(b ).

                (b)      Priority Distributions. Prior to the distribution of any amounts to Partners
                                                                                                  Pa11ners
pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
Partnership
Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                       (i)     No later than March 31"
                                                   31st of each calendar year, commencing March 31,
2017, an amount equal to $1,600,000.00;

                        (ii)                           31st of each year, commencing March 31, 2017, an
                                 No later than March 31'
amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
and records;



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                        (iii)
                        (iii)      No later than March 31'31st of each year, commencing March 31, 2017, an
amount equal to ten percent (10%)
                              ( l 0%) of
                                      or the Partnership's Operating Cash Flow for the
                                                                                   tht: prior year; and

                       (iv)
                       (iv)    No
                               No later than December 24th of each year, commencing December 24,
2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
the then current year.

                  (c)
                  (c)     Tax Distributions. The General Partner may, in its sole discretion, declare and
make cash distributions pursuant hereto to the Partners to allow the federal federal and state income tax
attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
                 Patiners (a "Tax Distribution").
paid by such Partners               Distribution"). The General Partner may, in its discretion, make Tax
Distributions
Distributions to the Founding Partner
                                 Paiiner Group without also making Tax Distributions to other Partners;
                                                                                                    Pa11ners;
provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
provided,
      Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
Tax Distributions
Partner
Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
Priority Distributions under ==~~~CJ.·
                              Section 3.9(b).

                      (d)
                      ( d)     Payments Not Deemed Distributions.             Any amounts paid pursuant to
===~c..'
Sections..J...:O:..,.    4.1(h) shall not be deemed to be distributions for purposes of this Agreement.
            4.I(e) or 1J.Qu

                 (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
that Partner's participation in the Partnership. If
                                                 If and to the extent that the Partnership shall be required to
withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
received a payment from the Partnership as of the time that withholding or tax is paid, which payment
shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
Partner (or any successor to that Partner's Partnership
                                              Pminership Interest) is then entitled to receive a distribution.
                                                                                                   distribution.
To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
which that Partner is entitled for that period, the amount of such excess shall be considered a loan from  from
the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
           from time to time, until discharged by that Partner by repayment, which may be made in the
hereunder from
                                                  Patiner out of distributions to which that Partner would
sole and unfettered discretion of the General Partner
otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
otherwise
the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
lower rate is applicable, or that no withholding is applicable.

                (f)
                (0       Special Tax Distributions. The Partnership shall, upon request of such Founding
Partner, make distributions to the Founding Partners
                                            Pm1ners (or
                                                     (or loans, at the election of the General Partner) in an
amount necessary for each of them to pay their respective federal income tax obligations incurred through
the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
Capital Management, L.P., the predecessor to this Agreement.

                 (g)
                 (g)     Tolling of Priority
                                      Prioritv Distributions. In
                                                              In the event of a "Honis Trigger Event,"
                                                                                                Event,'' as
defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

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as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
and any of its direct or indirect owners that have governing documents directly affected by a Honis
Trigger Event.

        3.10.    Compensation and Reimbursement of Central
                                                   General Partner.

                (a)     Compensation. The General Partner and any Affiliate of the General Partner
shall receive no compensation from the Partnership for services rendered pursuant to this Agreement or
any other agreements unless approved by a Majority Interest; provided, however, that no compensation
above five million dollars per year may be approved, even by a Majority Interest, during a NAV
                                                                                            NA V Ratio
Trigger Period.

                 (b)     Reimbursement for Expenses. In addition to amounts paid under other Sections
of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
                                                         fees, deposits, and other sums paid in connection
disbursements, and advances incurred or made, and all fees,
with the organization and operation of the Partnership,
                                           Pa1tnership, the qualification of the Partnership to do business,
and all related matters.

        3.11.    Books, Records, Accounting, and Reports.

                 (a)     Records and Accounting. The General Partner shall keep or cause to be kept
appropriate books and records with respect to the Partnership's business, which shall at all times be kept
at the principal office of the Partnership or such other office as the General Partner may designate for
such purpose. The books of the Partnership shall be maintained for financial reporting
                                                                               repo1ting purposes on the
accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
discretion. in accordance with generally accepted accounting principles and applicable law. Upon
discretion,
reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
records of the Partnership.

               (b)     Fiscal Year.      fiscal year of the Partnership shall be the calendar year unless
                              Year. The fiscal
otherwise determined by the General Partner in its sole and unfettered discretion.

                (c)
                 ( c)    Other information.
                                Information. The General Partner
                                                             Paitner may release information concerning the
operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
other Person for reasons reasonably related to the business and operations of the Partnership or as
required by law or regulation of any regulatory body.

                (d)
                ( d)     Distribution Reporting to Class B
                                                         B Limited Partner
                                                                   Partner and Class C Limited Partner.
                                                                                                Partner.
Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
Partner
Partner requesting the information.

        3.12.   Tax Matters.

                 (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
federal,                                                                                    Pa11ner as copy of
federal. state and local income tax purposes. The General Partner shall deliver to each Partner
                      K-1 as soon as practicable after the end of the Fiscal Year,
his/her/its IRS Form K-1                                                     Y car, but in no event later than
October 1. I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


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other items shall be on the cash or accrual method of accounting
                                                       aeeounting for federal
                                                                       federal income tax purposes, as the
General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
and treat such taxes as an expense of the Partnership.

                 (b)
                 (b)      Tax Elections. Except as otherwise provided herein, the General Partner shall, in
its sole and unfettered discretion, determine whether to make any available tax election.

                 (c)
                 (c)      Tax Controversies. Subject to the provisions hereof, the General Partner is
                                                                   6231 ), and is authorized and required to
designated the Tax Matters Partner (as defined in Code Section 6231),
represent the Partnership, at the Partnership's
                                      Partnership's expense, in connection with all examinations of the
Partnership's
Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
expend Partnership funds   fix professional services and costs associated therewith. Each Partner agrees to
                     fonds for
cooperate with
          \\ith the General Partner in connection with such proceedings.

                 (d)
                 (d)     Taxation as a Partnership. No election shall be made by the Partnership or any
Partner for the Partnership to be excluded from
                                            from the application of any of the provisions of Subchapter K,
                                                                                                        K,
Chapter 1l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                   ARTICLE 4

                             RIG I ITS AND OBLIGATIONS OF PARTNERS
                             RIGHTS

         4.1.    Rights and Obligations of the General Partner. In        In addition to the rights and
obligations set forth elsewhere in this Agreement, the General Partner shall have the following
                                                                                      following rights and
obligations:

                  (a)        Management. The General Partner shall conduct, direct, and exercise full    full control
of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
management powers over the business and affairs of the Partnership shall be exclusively vested in the
General Partner, and Limited Partners shall have no right of control over the business and affairs of the
Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
partnership under applicable law or that are granted to the General Partner under any provision of this
Agreement, the General Partner shall have full    full power and authority to do all things deemed necessary or
desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
determination of the activities in which the Partnership will participate; (ii) the performance of any and all
acts necessary or appropriate to the operation of any business of the Partnership   Partnership (including,
                                                                                                (including, without
 limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
limitation,
paper, any note receivables and any other obligations); (iii)        (iii) the procuring and maintaining of such
insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
                    (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
General Partner; (iv)
of exchange of any or all of the assets of the Partnership; (v)   (v) the execution and delivery on behalf of,of, and
in the name of the Partnership, deeds, deeds of trust, trust, notes, leases, subleases, mortgages, bills of sale and
any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
           (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
business; (vi)
and other liabilities, the issuance of evidences of indebtedness, and the incurrence
                                                                                   incurrenee of any obligations it
deems necessary or advisable for the conduct of the activities of the Partnership, including, without
limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
                       3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
pursuant to Section 3.10;
on hand) for any Partnership purpose on any terms it sees fit,     fit, including, without limitation, the financing
of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

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of the Partnership;
        Partnership: (viii) the negotiation, execution,
                                             execution. and performance
                                                            perf<mnance of any contracts that it considers
desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
implementation of the General Partner's powers under this Agreement; (ix)   (ix) the distribution of Partnership
                                                                                                     Paiinership
cash or other assets; (x)(x) the selection, hiring and dismissal of employees, attorneys, accountants,
consultants, contractors, agents and representatives and the determination of their compensation and other
teens of employment or hiring; (xi)(xi) the formation
                                            formation of any further
                                                               futiher limited or general partnerships, joint
ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
or relationships of assets and properties of the Partnership; and (xii)
                                                                    (xii) the control of any matters affecting
the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
the incurring of legal expenses, and the settlement of claims and suits.

                 (b)     Certificate of Limited Partnership. The General Partner caused the Certificate
                                                                                               Cetiificate of
Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
the Delaware Act and shall cause
                              eause to be filed such
                                                 sueh other certificates or documents (including, without
limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
Partner to be reasonable and necessary or appropriate for the formation,
                                                                formation, qualification, or registration and
operation of a limited partnership (or a partnership in which
                                                        whieh Limited Partners have limited liability) in
                                                                                                        in the
State of Delaware and in any other state where the Partnership may elect to do business.

                 (c)      Reliance by Third Parties. Notwithstanding any other provision of this
Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
 from
 from the Partnership
           Pa1inership or any other Person dealing with the Partnership, shall be required to verifyverity any
representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
properties of the Partnership, and any suchsueh lender, purchaser, or other Person shall be entitled to rely
exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
all defenses or other remedies that may be available against any such
                                                                   sueh lender, purchaser, or other Person to
contest,
contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
financing.
 financing. In no event shall any Person dealing with the General Partner or the General Partner's
representative with respect to any business or property of the Partnership be obligated to ascertain
                                                                                             asce1iain that the
terms of this Agreement have been complied with,  with, and each such
                                                                 sueh Person shall be entitled to rely on the
assumptions that the Partnership has been duly formed
                                                    formed and is validly in existence. In no event shall any
such Person be obligated to inquire into the necessity or expedience of any act or action of the General
Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
agreement, promissory note, or other instrument or document executed by the General Partner or the
General Partner's representative with respect to any business or property of the Partnership
                                                                                         Patinership shall be
conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i),    (i), at
the time of the execution and delivery thereof, this Agreement was in full    full force and effect; (ii)
                                                                                                     (ii) such
                                                                                                          sueh
instrument or document was duly executed in accordance with the terms and provisions of this Agreement
and is binding upon the Partnership;
                           Partnership; and (iii)
                                            (iii) the General Partner or the General Partner's representative
was duly authorized and empowered to execute and deliver any and every such instrument or document
for and on behalf of the Partnership.
                          Paiinership.

                (d)      Partnership
                         Paiinership Funds. The funds of the Partnership
                                                                   Pat1nership shall be deposited in such
account or accounts as are designated by the General Partner. The General Partner
                                                                                Patiner may, in its sole and
unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
the name of the General Partner, the Partnership, or any other Person into whichwhieh funds of the General
Partner, the Partnership, on other Persons are also deposited; provided, however, at all times books of
account are maintained that show the amount of funds of the Partnership on deposit in such account and
interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

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not directly or indirectly secure, and are not otherwise at risk on account of, ot: any indebtedness or other
obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
thereof.                          4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
thereof: Nothing in this Section 4.1(d)
Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to Section 4.1(0(i). All
withdrawals from or charges against such accounts shall be made by the General Partner or by its
representatives. Funds of the Partnership may be invested as determined by the General Partner in
accordance with the terms and provisions of this Agreement.

                 (e)     Loans to or from General Partner: Contracts with Affiliates; Joint Ventures.

                          (i)      The General Partner or any Affiliate of the General Partner may lend to
the Partnership funds needed by the Partnership for such periods of time as the General Partner may
determine;
determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
at a rate greater than the rate (including points or other financing charges or fees) that would be charged
the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
General Partner's sole and exclusive discretion.

                         (ii)    The General Partner or any of its Affiliates may enter into an agreement
with the Partnership to render services, including management services, for the Partnership. Any service
rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
and reasonable to the Partnership.

                        (iii)    The Partnership may Transfer any assets to JOmt joint ventures or other
partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
consistent with applicable law as the General Partner deems appropriate; provided, however, that the
Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NAV
                                                                                                   NA V
Ratio Trigger Period for consideration less than such asset's fair market value.

                 (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
thereof shall be entitled to and may have business interests and engage in business activities in addition to
those relating to the Partnership,
                       Patinership, including, without limitation, business interests and activities in direct
competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
                                   patinership relationship created hereby in any business ventures of the
virtue of this Agreement or the partnership
General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
             Patiner or any Affiliate thereof.
the General Partner

                 (g)
                 (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
Partner, on the other hand, any action taken by the General Partner,
                                                               Paiiner, in the absence of bad faith by the
General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
any other applicable law, rule, or regulation.

               (h)      Indemnification. The Partnership
                                               Pa1inership shall indemnify and hold harmless the General
Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,

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the "GP Party"), against all liabilities, losses, and damages incurred by any of them by reason of any act
performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
with the Partnership's business, including, without limitation, attorneys' fees and any amounts expended
in the settlement of any claims or liabilities, losses, or damages, to the fullest extent permitted by the
Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
misconduct.
and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
who is or was serving at the request of the Partnership acting through the General Partner as a director,
officer,  partner. trustee, employee, agent, or representative of another corporation, partnership, joint
oflicer, partner,
venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1(h)    4.1 (h) or
elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
reduce or limit in any manner the indemnification provided for or permitted by this Section 4.1(h) unless
such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
reason of the indemnification provisions of this Agreement.

                (i)
                ( i)     Liability of General Partner.

                         (i)      Neither the General Partner
                                                       Paiiner nor its directors, officers, employees, agents,
or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                         (ii)    The General Partner may exercise any of the powers granted to it by this
Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
for any misconduct or negligence on the part of any agent or representative appointed by the General
Partner.

                U)       Reliance by General Partner.

                         (i)     The General Partner may rely and shall be protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
have been signed or presented by the proper party or parties.

                         (ii)     The General Partner may consult with legal counsel, accountants,
appraisers, management consultants, investment bankers, and other consultants and advisers selected by
it, and any opinion of any such Person as to matters which the General Partner believes to be within such
                           expe11 competence shall be full and complete authorization and protection in
Person's professional or expert
respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
accordance with such opinion.

                 (k)     The General Partner may, from time to time, designate one or more Persons to be
officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
authority and perform such duties as the General Partner
                                                     Patiner may, from time to time, delegate to them. The
General Partner may assign titles to particular officers, including, without limitation, president, vice
president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
until such Person's successor shall be duly designated and shall qualify or until such Person's death or

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until such Person shall resign or shall have been removed in the manner hereinafter provided. Any
            offiees may be held by the same Person. The salaries or other compensation, if any, of the
number of offices
                                                                                       Pattner. Any officer
officers and agents of the Partnership shall be fixed from time to time by the General Partner.
                      sueh, either with or without cause, by the General Partner
may be removed as such,                                                    Pmtner whenever in the General
Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
any office of the Partnership may be filled by the General Partner.

         4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
rights and obligations:

              (a)      Limitation of Liability. Limited Partners shall have no liability under this
Agreement except as provided herein or under the Delaware Act.
                                                          Aet.

                 (b)       Management of Business. No Limited Partner shall take part in the control
(within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
as specifically set forth in this Agreement.

                (c)
                (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
Agreement or upon termination of the Partnership may be considered as such
                                                                         sueh by law and then only to the
extent provided for in this Agreement.

              (d)    Second
                     Seeond Amended Buy-Sell
                                     Buv-Sell and Redemption Agreement. Each Limited Partner
shall comply
      eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
Agreement.

                 (e)
                 ( e)    Default on Priority Distributions. If the Partnership
                                                                       Paiinership fails to timely pay Priority
Distributions pursuant to Section 3.9(b),
                                    3 .9(b ), and the Partnership does not subsequently make such Priority
Distribution within ninety days of its due date,
                                              date. the Class B Limited Partner or the Class C Limited Partner
may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
traded securities owned by the Partnership
                                 Pa1tnership in order to satisfy the Partnership's obligations under Section
3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
offer to purchase any securities liquidated under this Section 4.2(e).

        4.3.     Transfer of Partnership Interests.

                  (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
made in accordance with this Section 4.3 and the Second Amended Buy-Sell and Redemption Agreement
shall be null and void. An alleged transferee shall have no right to require any information or account of
the Partnership's
     Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
notices required to be given to holders of Partnership Interests.


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                  (b)     Transfers by General Partner. The General Partner may Transfer all, but not less
      alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
than all,
however, that the General Partner may not Transfer                                        NA V Ratio Trigger
                                             Transfor its Partnership Interest during any NAV
Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
the individual owner of the General Partner. Any TransferTran sfer by the General Partner of its Partnership
                                            Af111iate of the General Partner or any other Person shall not
Interest under this Section 4.3(b) to an Affiliate
constitute a withdrawal of the General Partner under Section 4.5(a), Section 5.1(b), or any other provision
of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
pursuant to  Section 5.2.
          to~~~~~·


                (c)
                (c)      Transfers by Limited Partners. The Partnership Interest of a Limited Partner may
not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
and Redemption Agreement.

                 (d)
                 ( d)      Distributions and Allocations in Respect of Transferred Partnership Interests. If
any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
Article
items attributable to the transferred interest for that period shall be divided and allocated between the
                                                aecount their varying interests during the period in accordance
transferor and the transferee by taking into account                                                 aecordance
                      706( d), using any conventions permitted by law and selected by the General Partner;
with Code Section 706(d),
provided that no allocations shall be made under this Section 4.3(d) that would affect any special
allocations made under Section 3.4.3 .4. All distributions declared on or before the date of that Transfer shall
be made to the transferor. Solely for purposes of making such allocations and distributions, the
Partnership shall recognize that Transfer not later than the end of the calendar month during which  whieh it is
given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
date that Partnership Interest was Transferred and such other information as the General Partner   Pa1iner may
reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
according to the books and records      or the Partnership, on the last day of the Fiscal Year during which the
                               reeords of
Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
                                   alloeations and distributions in accordance with the provisions of this
incur any liability for making allocations
Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
of any Partnership
       Pa1inership Interest.

                 ( e)
                 (e)     Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
default on the Contribution Note, the Capital Accounts           Pereentage Interests associated with such
                                                 Aceounts and Percentage
Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
                         3. 9(b) made after the date of such forfeiture shall each
Distributions in Section 3.9(b)                                                       redueed by an amount
                                                                              eaeh be reduced
                                                assoeiated with the Class B Limited Partnership Interest
equal to the ratio of the Percentage Interest associated
transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
forfeiture of such Class B Limited Partnership Interest.

                (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of
Partner

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the Class C Limited Partnership Interests, or a portion thereof,
                                                         thereof: if such transfer occurs as a result of a
default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
                                                Interest The Priority Distributions
automatically convert to a Class A Partnership Interest.               Distributions in Section 3.9(b) shall
each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
Class C Limited Partnership Interest over the aggregate Percentage Interests of all Class B Limited
                                                          Interests, calculated immediately prior to any
Partnership Interests and Class C Limited Partnership Interests,
transfer of such Class C Limited Partnership Interest.

         4.4.    Issuances of Partnership Interests to New and Existing Partners.

                 (a)     Issuance of Partnership Interests to New Limited Partners. The General Partner
may admit one or more additional Persons as Limited Partners
                                                           Pa11ners ("Additional Limited Partners") to the
Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
discretion; provided, however, that the General Partner may only admit additional Persons as Limited
Partners
Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
Partner
Partner and the Class C Limited Partner
                                  Par1ner shall be diluted proportionately by the issuance of such limited
partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
executes an Addendum to this Agreement in the form attached as Exhibit
                                                                     Exhibit B (which may be modified by
the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
          Redemption Agreement.
Sell and Redemption

                (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
General Partner may issue an additional Partnership Interest to any existing Partner at such times and
upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
additional Partnership
           Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
Founding Partner
           Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
Redemption Agreement.

        4.5.     Withdrawal of General Partner

                 (a)
                 (a)     Option. In In the event of the withdrawal of the General Partner from     from the
Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
(if
(if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
from its successor in exchange for its Partnership Interest as the General Partner,
                                                                            Pminer, an amount in cash equal
to its Capital Account balance, determined as of the effective date of its departure.

                (b)      Conversion. IfIf the successor to a Departing Partner does not exercise the option
described in Section 4.5(a), the Partnership Interest of the Departing Partner
                                                                       Pa11ner as the General Partner of the
                                      Pa11nership Interest as a Limited Partner.
Partnership shall be converted into a Partnership

        4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                 (a)      Admission of Substitute Limited Partners. A transferee (which may be the heir
or legatee of a Limited Partner)
                         Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
to that Partnership
        Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


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                                   ( 1) obtain the consent of the General Partner
that transferee or assignee shall (1)                                      Pa11ner (which consent may be
withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
Agreement in the form attached as Exhibit B (which may be modified by the General Partner in its sole
and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
Limited Partner.

                 (b)     Admission of Successor General Partner. A successor General Partner selected
pursuant to Section 5.2 or the transferee of or successor to all of the Partnership
                                                                        Pai1nership Interest of the General
Partner pursuant to Section 4.3(b) shall be admitted to the Partnership as the General Partner, effective as
of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
predecessor's Partnership Interest.

                (c)
                ( c)    Action by General Partner. In connection with the admission of any substitute
Limited Partner
        Pa11ner or successor General Partner or any additional Limited Partner, the General Partner
                                                                                            Pat1ner shall
have the authority to take all such actions as it deems necessary or advisable in connection therewith,
including the amendment of Exhibit A and the execution and filing with appropriate authorities of any
necessary documentation.

                                                 ARTICLE 5

                                   DISSOLUTION AND WINDING UP

        5.1.     Dissolution. The Partnership shall be dissolved upon:

                 (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
event that results in its ceasing to be the General Partner (other
                                                            (other than by reason of a Transfer pursuant to
Section 4.3(b));
        4.3(b)):

                (b)      An election to dissolve the Partnership
                                                     Pa11nership by the General Partner that is approved by
the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
Amended Buy-Sell and Redemption Agreement; or

                 (c)     Any other event that, under the Delaware Act, would cause its dissolution.

For purposes of this            5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
                  th is Section 5.1,
when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
arrangement,
arrangement composition, readjustment,
                              readjustment. liquidation, dissolution, or similar relief under any law; (v) files
an answer or other pleading admitting or failing to contest the material allegations of a petition filed
against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
hundred twenty (120)
                 ( 120) days expire after the date of the commencement of a proceeding against the General
Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or

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similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
                                                                     Paiincr's consent or acquiescence, of a
expire after the date of the appointment, without the General Partner's
         receiver. or liquidator of the General Partner or of all or any substantial part of the General
trustee, receiver,
Partner's properties if the appointment has not previously been vacated or stayed,stayed. or ninety (90) days
expire after the date of expiration of a stay, if the appointment has not previously been vacated.

          5.2.    Continuation of the Partnership. Upon the occurrence of an event described in ==C!c! Section
5.1(a), the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
               Patinership within ninety (90) days of that event. If no election to continue the Partnership
continue the Partnership                                                                         Pa1inership is
made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
111 Section 5.1(a), then:
in                  then:

                (a)     Within that ninety (90)-day period a successor General Partner shall be selected
by a Majority Interest;

                (b)     The Partnership shall be deemed to be reconstituted and shall continue until the
end of the term for which it is formed unless earlier dissolved in accordance with this Article
                                                                                        A1iiclc 5;

                (c)      The interest of the former General Partner shall be converted to an interest as a
Limited Partner;
        Pa11ner: and

                (d)     All necessary steps shall be taken to amend or restate this Agreement and the
                       Pa1incrship, and the successor General Partner may for this purpose amend this
Certificate of Limited Partnership,
Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

         5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
 under Section 5.2, the General Partner or, in the event the General Partner has been dissolved, becomes
 bankrupt (as defined in Section 5.1), or withdraws from the Partnership, a liquidator or liquidating
committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
General Partner) shall be entitled to receive such compensation for its services as may be approved by a
 Majority Interest. The Liquidator shall agree not to resign at any time without fifteen (15) ( 15) days' prior
written notice and (if other than the General Partner) may be removed at any time, with or without cause,
by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
 Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
and continuing for so long as the functions and services of the Liquidator are
                                                                             arc authorized to continue under
the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
provided in this Article 5, the Liquidator appointed in the manner provided herein shall have and may
exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
exercise,
                     Patiner under the terms of this Agreement (but subject to all of the applicable
upon the General Partner
limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
of applicable law:
               law:



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                 (a)    To the payment of the expenses of the terminating transactions including, without
limitation, brokerage commission, legal fees, accounting fees and closing costs;

                 (b)    To the payment of creditors of the Partnership, including Partners, in order of
priority provided by law;

                   (c)
                   (c)     To the Partners and assignees to the extent of,
                                                                       oC and in proportion to, the positive
balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
1(b)(2)(ii)(b)(2);
1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
for such purposes; and

                (d)      To the Partners in proportion
                                            propo1iion to their respective Percentage Interests.

          5.4.    Distribution in Kind. Notwithstanding the provisions of Section 5.3 that require the
liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
assignees, in lieu of cash, as tenants in common and in accordance with the provisions of       Section 5.3,
                                                                                             of===-"'-'-"'-'
undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
such distributions in kind shall be subject to such conditions relating to the disposition and management
of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
or other agreements governing the operation of such properties
                                                          prope1iies at such time. The Liquidator shall
determine the fair market value of any property distributed in kind using such reasonable method of
valuation as it may adopt.

         5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
distribution of Partnership property as provided in Sections 5.3 and 5.4, the Partnership shall be
terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
Delaware and shall take such other actions as may be necessary to terminate the Partnership.

        5.6.    Return of Capital. The General Partner
                                                   Pa1iner shall not be personally liable for the return of
the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
any such return shall be made solely from Partnership assets.

        5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
Partnership property.

                                               ARTICLE 6

                                       GENERAL PROVISIONS

        6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
and appropriate; provided, however, any action taken by the General Partner shall be subject to its
fiduciary duties to the Limited Patiners
                                 Partners under the Delaware Act; provided further that any amendments



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that adversely affect
               afl't:ct the Class B Limited Partner or the Class C Limited Pai1ner
                                                                           Partner may only be made with
the consent of such Partner adversely affected.

         6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
when
,\hen delivered in person or when sent by United States registered or certified
                                                                           ce11ified mail to the Partner at
his/her/its address as shown on the records of the Partnership,
                                                   Pai1nership, regardless of any claim of any Person who
may have an interest in any Partnership Interest by reason of an assignment or otherwise.

        6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
or describe the scope or intent of any provisions hereof.
                                                    hereoC Except as specifically provided otherwise,
references to "Articles,"
              "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
Agreement. All Exhibits hereto are incorporated herein by reference.

        6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
nouns, pronouns,
       pronouns. and verbs shall include the plural and vice versa.

        6.5.      Further Action. The parties shall execute all documents, provide all information, and
take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
Agreement.

         6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
parties
pat1ies hereto and their heirs,
                         heirs. executors, administrators, successors, legal representatives, and permitted
assigns.

         6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
thereto.

        6.8.    Creditors. None of the provisions
                                            prov1s1ons of this Agreement shall be for the benefit of or
enforceable by any creditors of the Partnership.

        6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
condition.

        6.10. Counterparts. This agreement may be executed in counterparts, all of which together
shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
not signatories to the original or the same counterpart.

        6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
by the laws of the State of Delaware, without regard to the principles of conflicts of law.

         6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


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not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
objectives.

          6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
      (ieneral Partner may consider any items it deems relevant, including its own
the General                                                                    mvn interest and that of its
affiliates.

          6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
 parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
 representatives that involves legal rights or remedies arising from from this Agreement, the parties agree to
 submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
                                                                                                         provided,
 ~~~~,
 however, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
 and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
 binding on the other party, with related expedited discovery for the parties, in a court of law, and
 thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
 American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
 arbitrators will preside over the arbitration and will together deliberate, decide and issue the final
                                                                                                     final award.
 The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
 limited to the following: Each side shall be permitted no more than (i)  (i) two party depositions of six hours
 each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii)       (ii) one non-party
                                                                                                        non-paiiy
 deposition of six hours; (iii)                                (iv) twenty-five requests for admissions; (v)
                            (iii) twenty-five interrogatories; (iv)                                        (v) ten
 request for production (in response, the producing party pa11y shall not be obligated to produce in excess of
 5,000 total pages of documents, including electronic documents); and (vi)      (vi) one request for disclosure
pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
                           patiies or non-parties, shall not be permitted. The arbitrators shall be required to
paragraph, whether to parties
 state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
The arbitrators will not have the authority to render a decision that contains an outcome based on error of
 state or federal            fashion a cause of action or remedy not otherwise provided for under applicable
          federal law or to fashion
          federal law. Any dispute over whether the arbitrators have failed
 state or federal                                                          failed to comply with the foregoing
                                                                                                        foregoing
 will be resolved by summary judgment in a court
 ,,ill                                           comi of law. In all other respects, the arbitration process will
be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
 mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
another mutually agreeable site. Each party shall bear its own attorneys fees,        fees, costs and expenses,
including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
bear costs and fees. The duty to arbitrate described above shall survive the termination of this
 Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
                  rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
jury. All other rights,
of law will apply in the arbitration.




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                               Signature Page Follows.




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             IN WITNESS WHEREOF. the parties hereto have entered into this Agreement as of the date and
             IN
    year first written above.

                                                             PARTNER:
                                                     GENERAL PART:'IER:

                                                     ST          VISORS, INC.,
                                                     a ► aware co ratio

                                                     By:
                                                                   es i  ondero,
                                                                resident


                                                     LIMITED PARTNERS:

                                                     THE DUGABOY INVESTMENT TRUST


                                                     By:
                                                     Name: N cy M. Dondero
                                                     Its:  Trus ee

                                                                             OK,\DA FAMILY
                                                     THE MARK AND PAMELA OKADA
                                                     TRUST -— EXEMPT TRUST
                                                                     TRt;ST #1
                                                                            #1


                                                     By:
                                                     Name:
                                                     -:-Jame: Lawrence Tonomura
                                                     Its:
                                                     Its:     Trustee


                                                                               FA.MILY
                                                     THE MARK AND PAMELA OKADA FAMILY
                                                           - EXEMPT TRUST #2
                                                     TRUST —


                                                     By:
                                                     Name: Lawrence Tonomura
                                                     Its:
                                                     Its:  Trustee


                                                         MARK K.



                                                         Mark K. Okada




     Signature Page to Fourth Amended and  @d Restated
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                qt' Limited
     Agreement of   Li111i,ed Partnership
                              Parfllership
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          IN WITNESS WHEREOF, the parties hereto have entered into this Agreement as of the date and
 year first written above.

                                                  GENERAL PARTNER:

                                                  STRAND ADVISORS, INC.,
                                                  a Delaware corporation

                                                  By:
                                                           James D. Dondero,
                                                           President


                                                  LIMITED PARTNERS:

                                                  THE DUGABOY INVESTMENT TRUST


                                                  By:
                                                  Name: Nancy M. Dondero
                                                  Its:  Trustee

                                                  THE MARK AND PAMELA OKADA FAMILY
                                                  TRUST -— EXEMPT TRUST #1
                                                                        #1


                                                  By:
                                                  Na e: Law nce Tonom a
                                                  Its   T  ee


                                                  THE MARK AND PAMELA OKADA FAMILY
                                                  TRUST — EXEMPT TRUST #2


                                                  By:
                                                  Na       a     ence Tonom ra
                                                  Its:         stee


                                                  MARK K. OKADA



                                                  Mark K. Okada




  Signature Page to Fourth Amended and Restated
  Agreement ofLimited Partnership
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                                                 HUNTER MOUNT • . INVESTMENT
                                                                     INVESTMl(NT TRUST
                                                 By: Beacon Mou m 1 .C
                                                                     C, Administrator


                                                 By:
                                                 By
                                                 Name: John llot
                                                 Its:   Pre id




  Signawre Page
  Signature Page toro Fourth
                      Fourth Amended and Restated
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  Agreement
  Agreeme/11 ofLimited
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                                        EXHIBIT A


                                                                  Percentage Interest
CLASS A PARTNERS                                                By Class   Effective %

  GENERAL PARTNER:

     Strand Advisors                                              0.5573%       0.2508%

  LIMITED PARTNERS:

     The Dugaboy Investment Trust                                74.4426%
                                                                 74.4426%       0.1866%

     Mark K. Okada                                               19.4268%       0.0487%

     The Mark and Pamela Okada Family Trust
                                      Trust-- Exempt Trust #1
                                                           #1     3.9013%       0.0098%

     The Mark and Pamela Okada Family Trust - Exempt Trust #2     1.6720%       0.0042%

Total Class A Percentage Interest                               100.0000%        0.500%

CLASS B LIMITED PARTNERS

     Hunter Mountain Investment Trust                           100.0000%      55.0000%

CLASS C LIMITED PARTNERS

     Hunter Mountain Investment Trust                           100.0000%       44.500%

PROFIT AND LOSS AMONG CLASSES

     Class A Partners                                            0.5000%

     Class B Partners                                           55.0000%

     Class C Partners                                           44.5000%
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                                                 EXHIBIT B

                              ADDENDUM
                               TO THE
     FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                  OF
                  HIGHLAND CAPITAL MANAGEMENT, L.P.

        THIS ADDENDUM (this "Addendum")
                                      ·'Addendum") to that certain Fourth Amended and Restated
Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
entered into as of the       day of           , 20_,
                                                20_, by and between Strand Advisors, Inc., as the sole
General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
- - - - - - ("  ("         ") (except as otherwise provided herein, all capitalized terms used herein shall
                      forth in the Agreement).
have the meanings set forth

                                                 RECITALS:

        WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
               Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
any Limited Partner,
          (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii)
Partners, (ii)                                                                         (iii) Section 6.1
                                                                                                     6. J of the
Agreement to amend the Agreement;

      WHEREAS, the General Partner desires to admit                     as a Class
                                                                             Class_ Limited Partner holding
aa_% Percentage Interest in the Partnership as of the date hereof;

       WHEREAS, - - - -desires to become a Class                 Limited Partner
                                                                         Pminer and be bound by the terms
and conditions of the Agreement; and

        WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
party thereto.

                                               AGREEMENT:

       RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
       RESOLVED,
                                        (i) has received and read a copy of the Agreement, (ii)
acknowledges and agrees that he/she/it (i)                                                    (ii) shall be
bound by the terms and conditions of the Agreement; and (iii)
                                                          (iii) shall promptly execute an addendum to the
Second Amended Buy-Sell and Redemption Agreement; and be it

                   RESOLVED, the General Partner hereby amends the Agreement to add
      FURTHER RESOLVED,
              as a Limited Partner, and the General Partner shall attach this Addendum to the
Agreement and make it a part thereof; and be it

        FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
such parties are not signatories to the original or the same counterpart.
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       IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
above written.

                                                 GENERAL PARTNER:

                                                 STRAND ADVISORS, INC.

                                                 By:
                                                         Name: _ _ _ _ _ _ _ _ _ _ __
                                                         Title:


                                                 NEW LIMITED PARTNER:



AGREED AND ACCEPTED:

In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
allowing the above signed Person to become a Limited Partner
                                                       Pa1tner of the Partnership, and for other good and
valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
terms and conditions of the Agreement as though a party thereto.

SPOUSE OF NEW LIMITED PARTNER:
___________]
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          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
Highland Capital Management, L.P.                                                Highland Capital Management Services, Inc.,
                                                                                 James Dondero, Nancy Dondero, and The
                                                                                 Dugaboy Investment Trust
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Hayward PLLC                                                                    Stinson LLP (for Highland Capital Management
10501 N. Central Expressway, Suite 106                                          Services, Inc. and Nancy Dondero); Heller, Draper
Dallas, Texas 75231 Tel.: (972) 755-7100                                        & Horn, L.L.C. (for The Dugaboy Investment Trust)
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Breach of Contract; Turnover Pursuant to 11 USC 542(b); Avoidance and Recovery of Actual
Fraudulent Transfer under 11 USC 548(a)(1)(A) and 550; Avoidance and Recovery of Actual
Fraudulent Transfer under 11 USC 544(b) and 550 and Tex. Bus. & C. Code 24.005(a)(1);
Declaratory Relief; Breach of Fiduciary Duty; Aiding & Abetting Breach of Fiduciary Duty
                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□2 11-Recovery of money/property - §542 turnover of property                    □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□3 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□4 14-Recovery of money/property - other                                        □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □5 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □1 02-Other (e.g. other actions that would have been brought in state court
                                                                                         if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                 Demand $ Damages in an amount to be determined at trial
Other Relief Sought Turnover of amounts due under note, avoidance of transfers to defendants,
                           declaratory relief, punitive and exemplary damages, costs, attorneys' fees
     Case
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           21-03006-sgjDoc
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  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
Highland Capital Management, L.P.                                      19-34054-sgj11
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                             Dallas                            Stacey G. C. Jernigan
                                      RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                       DEFENDANT                                                ADVERSARY
                                                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
August 27, 2021                                                        Zachery Z. Annable



                                                          INSTRUCTIONS

            The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
  all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
  jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
  lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
  proceeding.

           A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
  Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
  Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
  completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
  information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.
